Case 2:24-cv-04786-WLH-ADS     Document 106   Filed 01/08/25   Page 1 of 47 Page ID
                                     #:4412



   1 Arameh Z. O’Boyle (SBN 239495)
     azoboyle@mintz.com
   2 Esteban Morales Fabila (SBN 273948)
     emorales@mintz.com
   3 MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.
     2049 Century Park East, Suite 300
   4 Los Angeles, CA 90067
     Telephone: (310) 586-3200
   5 Facsimile: (310) 586-3202
   6 [Additional Defendants’ Counsel continued on next page]
   7 Attorneys for Defendants MindGeek
     S.à r.l., MG Freesites Ltd, MG Premium
   8 Ltd, MindGeek USA Incorporated, MG
     Global Entertainment Inc., and 9219-1568
   9 Quebec Inc.
  10                      UNITED STATES DISTRICT COURT
  11                    CENTRAL DISTRICT OF CALIFORNIA
  12   K.A.                                     Case No. 2:24-cv-04786-WLH-ADS
  13                  Plaintiffs,               REPLY IN SUPPORT OF MOTION
          v.                                    TO DISMISS OF DEFENDANTS
  14                                            MINDGEEK S.À R.L., MG
       MINDGEEK S.À R.L, et al.,                FREESITES LTD, MG PREMIUM
  15                                            LTD, MINDGEEK USA
                      Defendants.               INCORPORATED, MG GLOBAL
  16                                            ENTERTAINMENT INC, AND
                                                9219-1568 QUEBEC INC.
  17
                                                [REDACTED VERSION OF
  18                                            DOCUMENT PROPOSED TO BE
                                                FILED UNDER SEAL]
  19
                                                Hearing Date:      January 31, 2025
  20                                            Hearing Time:      1:30 p.m.
                                                Courtroom:         9B
  21                                            Judge:             Hon. Wesley L. Hsu
  22                                            Complaint Filed: June 7, 2024
                                                Trial Date:       None Set
  23
  24
  25
  26
  27
  28

               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS   Document 106   Filed 01/08/25   Page 2 of 47 Page ID
                                   #:4413



   1 Seth R. Goldman (Pro Hac Vice App. Forthcoming)
     sgoldman@mintz.com
   2 MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.
     919 Third Avenue
   3 New York, NY 10022
     Telephone: (212) 692-6845
   4 Facsimile: (212) 983-3115
   5 Peter A. Biagetti (Admitted Pro Hac Vice)
     pabiagetti@mintz.com
   6 MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO, P.C.
     One Financial Center
   7 Boston, MA 02111
     Telephone: (617) 542-6000
   8 Facsimile: (617) 542-2241
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

              REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                               (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS                  Document 106              Filed 01/08/25           Page 3 of 47 Page ID
                                                  #:4414


    1                                             TABLE OF CONTENTS
    2                                                                                                                      Page(s)
    3 ARGUMENT .............................................................................................................. 1
    4 I.  PLAINTIFFS HAVE NOT SUFFICIENTLY PLED BENEFICIARY
    5     LIABILITY UNDER THE TVPRA ............................................................... 1
                A.       Plaintiffs Fail to Allege that MindGeek Is a Participant in a Trafficking
    6
                         Venture. ................................................................................................... 1
    7           B.       Plaintiffs Also Fail to Allege that MindGeek Knowingly Benefitted. ... 3
    8
         II.      PLAINTIFFS’ REMAINING CLAIMS ARE DEFICIENT AND SHOULD
    9             BE DISMISSED ............................................................................................. 5
  10            A.       Plaintiffs’ State Claims Are Barred by Applicable Statutes of
  11                     Limitations............................................................................................... 5
                B.       Plaintiffs’ Claim for Intentional Infliction of Emotional Distress Is
  12
                         Insufficiently Pled. .................................................................................. 8
  13            C.       Plaintiffs Have Not Pled Any Facts to Support MindGeek’s Intentional
  14                     Commission of Any Injury-Inflicting Conduct. .................................... 10
  15            D.       Plaintiffs’ Misappropriation Claims Are Insufficiently Pled for
                         Additional Reasons. .............................................................................. 11
  16
                E.       Plaintiffs’ Unfair-Competition Claims Must Be Dismissed Because
  17                     They Have Not Alleged Any Economic Injury. ................................... 13
  18            F.       Plaintiffs Have Not Alleged a Claim for Civil Conspiracy .................. 13
  19            G.       Plaintiffs Have Not Stated, and Cannot State a Claim for Negligence. 14
  20     III.     SECTION 230 REQUIRES DISMISSAL OF ALL OF PLAINTIFFS’
  21              CLAIMS........................................................................................................ 16
                A.       MindGeek Did Not Create or Develop the Unlawful Content. ............ 16
  22
                B.       FOSTA’s Exception to Section 230 Immunity Does Not Apply.......... 21
  23
  24     IV.      PLAINTIFFS’ JURISDICTIONAL ARGUMENTS FAIL TO MEET
                  THEIR BURDEN. ........................................................................................ 22
  25
                A.       MindGeek S.à r.l. Has No Relevant Contacts with the United States and
  26                     Thus Is Not Subject to Jurisdiction under Rule 4(k)(2) or 18 U.S.C.
                         § 2255(c) as to of Any Plaintiffs’ Claims. ............................................ 22
  27
  28
                                                                      i
                     REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                      (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS                 Document 106              Filed 01/08/25            Page 4 of 47 Page ID
                                                 #:4415


    1          B.       Plaintiffs’ Alter-Ego Allegations Fail for the Same Reasons as in
                        Fleites. ................................................................................................... 25
    2
               C.       MindGeek USA’s and MG Global’s Prior Headquarters in California
    3                   Do Not Allow the Exercise of Personal Jurisdiction Over the State-Law
    4                   Claims Here. .......................................................................................... 26
    5                   1.    There is no general personal jurisdiction................................... 26

    6                     2.       There is no specific personal jurisdiction. ................................. 28

    7          D.       The Non-U.S. Plaintiffs’ Claims Have No Relation to the Defendants’
                        Forum-Based Contacts. ......................................................................... 30
    8
               E.       Plaintiffs Are Not Entitled to More Jurisdictional Discovery. ............. 33
    9
         V.       MindGeek S.À R.L. Is Beyond the Territorial Reach of the TVPRA .......... 34
  10
        CONCLUSION......................................................................................................... 35
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                                     ii
                    REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                     (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS                Document 106           Filed 01/08/25         Page 5 of 47 Page ID
                                                #:4416


    1                                       TABLE OF AUTHORITIES
    2                                                                                                            Page(s)
    3 Federal Cases
    4 42 Ventures v. Rend,
         2020 WL 6257069 (D. Haw. Oct. 23, 2020) ...................................................... 24
    5
      AM Tr. v. UBS AG,
    6    681 F. App’x 587 (9th Cir. 2017) ....................................................................... 23
   7 AMA Multimedia, LLC v. Wanat,
        970 F.3d 1201 (9th Cir. 2020) ................................................................ 29, 30, 31
   8
     American Pipe & Constr. Co. v. Utah,
   9    414 U.S. 538 (1974) ......................................................................................... 7, 8
  10 Ayla, LLC v. Alya Skin Pty. Ltd.,
  11        11 F.4th 972 (9th Cir. 2021) ............................................................................... 32
  12 Baton v. Ledger SAS,
        2021 WL 5226315 (N.D. Cal. Nov. 9, 2021) ............................................... 26, 27
  13
     BNSF Ry. v. Tyrrell,
  14    581 U.S. 402 (2017) ........................................................................................... 28
  15 Bristol-Myers Squibb Co. v. Superior Court,
        582 U.S. 255 (2017) ..................................................................................... 27, 29
  16
     Burnham v. Superior Ct.,
  17    495 U.S. 604 (1990) ........................................................................................... 26
  18 Callahan v. Ancestry.com Inc.,
  19    2021 WL 783524 (N.D. Cal. Mar. 1, 2021) ....................................................... 20
  20 Caraccioli v. Facebook, Inc.,
       167 F. Supp. 3d 1056 (N.D. Cal. 2016).................................................... 9, 10, 11
  21
     Caraccioli v. Facebook, Inc.,
  22   700 F. Appx. 588 (9th Cir. 2017) ....................................................................... 20
  23 Carafano v. Metrosplash.com, Inc.,
       339 F.3d 1119 (9th Cir. 2003) ............................................................................ 16
  24
     Carroll Shelby Licensing v. Halicki,
  25   2021 WL 4895736 (C.D. Cal. Apr. 15, 2021) .................................................... 34
  26 Centaur Classic Convertible Arbitrage Fund Ltd. v. Countrywide Fin.
  27   Corp.,
       878 F. Supp. 2d 1009 (CD. Cal. 2011) ............................................................. 7, 8
  28
                                                                iii
                   REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                    (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS              Document 106          Filed 01/08/25        Page 6 of 47 Page ID
                                              #:4417


    1 Clark v. Viacom Int’l Inc.,
         617 F. App’x 495 (6th Cir. 2015) ......................................................................... 6
    2
      Cochran v. Air & Liquid Sys. Corp.,
    3    2022 WL 7609937 (C.D. Cal. Oct. 13, 2022) .................................................... 28
    4 Corinna Warm & Studio Warm LLC v. Innermost Ltd.,
    5    2022 WL 2062914 (C.D. Cal. Apr. 26, 2022) ...................................................... 6
    6 Diamondback DTNM, LLC v. ShiftPixy, Inc.,
         2024 WL 5185667 (C.D. Cal. Sep. 27, 2024) .................................................... 27
    7
      Doe #1 v. Twitter, Inc.,
    8    2023 WL 3220912 (9th Cir. May 3, 2023)......................................................... 20
   9 Doe v. Aylo Glob. Ent. Inc.,
       2024 WL 4599539 (C.D. Cal. June 24, 2024)........................................ 5, 6, 7, 23
  10
     Doe v. Bates,
  11   2006 WL 3813758 (E.D. Tex. Dec. 27, 2006) ................................................... 21
  12 Doe v. Johnson,
  13   2018 WL 3239315 (S.D. Cal. July 3, 2018) ....................................................... 10

  14 Doe v. MG Freesites, Ltd. et al,
       No. 7:21-cv-00220-LSC (N.D. Ala. Dec. 19, 2024) .......................................... 21
  15
     Doe v. MindGeek USA Inc.,
  16   574 F. Supp. 3d 760 (C.D. Cal. 2021) .............................................................. 4, 7
  17 Doe v. Reddit, Inc.,
       2021 WL 5860904 (C.D. Cal. Oct. 7, 2021) ................................................ 13, 15
  18
     Doe v. Unocal Corp.,
  19   248 F.3d 915 (9th Cir. 2001) .............................................................................. 23
  20 Doe v. WebGroup Czech Republic, a.s.,
  21   2024 WL 3533426 (C.D. Cal. July 24, 2024) .............................................. 17, 18
        Doe v. WebGroup Czech Republic, a.s.,
  22
          93 F.4th 442 (9th Cir. 2024) ................................................................... 23, 31, 32
  23 Does v. Reddit, Inc.,
  24   51 F.4th 1137 (9th Cir. 2022) ...................................................................... passim
  25 Dow Chem. Co. v. Calderon,
       422 F.3d 827 (9th Cir. 2005) .............................................................................. 24
  26
     Dyroff v. Ultimate Software Grp., Inc.,
  27   934 F.3d 1093 (9th Cir. 2019) ............................................................................ 15
  28
                                                             iv
                   REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                    (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS               Document 106           Filed 01/08/25        Page 7 of 47 Page ID
                                               #:4418


    1 Elizabeth Arden, Inc. v. Merch. of Tennis, Inc.,
         2011 WL 13217803 (C.D. Cal. Oct. 28, 2011) .................................................. 26
    2
      Engineered Floors, LLC v. Lakeshore Equip. Co.,
    3    2023 WL 4203512 (C.D. Cal. May 18, 2023).................................................... 24
    4 Fair Housing Council of San Fernando Valley v. Roommates.com,
    5    LLC,
         521 F.3d 1157 (9th Cir. 2008) ...................................................................... 17, 18
    6
      Fed. Agency of News LLC v. Facebook, Inc.,
    7    432 F. Supp. 3d 1107 (N.D. Cal. 2020).............................................................. 16
    8 Fleites v. MindGeek S.A.R.L.,
    9    2022 WL 18397365 (C.D. Cal. Nov. 17, 2022) .......................................... passim
        Fyk v. Facebook, Inc.,
  10
          808 F. App’x 597 (9th Cir. 2020) ....................................................................... 20
  11 G.G. v. Salesforce.com, Inc.,
  12   76 F.4th 544 (7th Cir. 2023) ................................................................................. 1
  13 Goddard v. Google, Inc.,
       640 F. Supp. 2d 1193 (N.D. Cal. 2009).............................................................. 19
  14
     Hungerstation LLC v. Fast Choice LLC,
  15   857 F. App’x 349 (9th Cir. 2021) ....................................................................... 32
  16 J. McIntyre Mach., Ltd. v. Nicastro,
        564 U.S. 873 (2011) ..................................................................................... 26, 27
  17
     J.B. v. G6 Hospitality, LLC,
  18    2020 WL 4901196 (N.D. Cal. Aug. 20, 2020) ................................................... 21
  19 Jackson v. Medical Board of Cal.,
  20    2012 WL 13019955 (C.D. Cal. Apr. 19, 2012) .................................................... 7
  21 Joude v. WordPress Found.,
        2014 WL 3107441 (N.D. Cal. July 3, 2014) ...................................................... 20
  22
     Knox v. Davis,
  23    260 F.3d 1009 (9th Cir. 2001) .............................................................................. 7
  24 LNS Enters. v. Cont’l Motors, Inc.,
        22 F.4th 852 (9th Cir. 2022) ............................................................................... 34
  25
     Lu v. Deng,
  26    2016 WL 6583599 (C.D. Cal. Nov. 7, 2016) ............................................... 13, 14
  27 Michaels v. Internet Ent. Grp., Inc.,
  28    5 F. Supp. 2d 823(C.D. Cal. 1998) ..................................................................... 11
                                                               v
                   REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                    (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS                Document 106           Filed 01/08/25         Page 8 of 47 Page ID
                                                #:4419


    1 Mullan v. Daniels,
         2021 WL 1323421 (N.D. Cal. Jan. 29, 2021) ...................................................... 6
    2
      Nikogosian v. Cavalry Portfolio Servs., LLC,
    3    2012 WL 2568124 (C.D. Cal. July 2, 2012) ...................................................... 11
    4 Pennie v. Twitter, Inc.,
    5    281 F. Supp. 3d 874 (N.D. Cal. 2017)................................................................ 20
    6 Perkins v. Benguet Consol. Mining Co.,
         342 U.S. 437 (1952) ........................................................................................... 27
    7
      Pfister v. Selling Source, LLC,
    8    931 F. Supp. 2d 1109 (D. Nev. 2013) ................................................................ 24
   9 Planet Green Cartridges, Inc. v. Amazon.com, Inc.,
        2023 WL 8943219 (C.D. Cal. Dec. 5, 2023)...................................................... 20
  10
     Ponomarenko v. Shapiro,
  11    287 F. Supp. 3d 816 (N.D. Cal. 2018)................................................................ 14
  12 Quan v. BAM Trading Servs., Inc.,
  13    2024 WL 2137631 (N.D. Cal. May 13, 2024) ................................................... 27

  14 Ranza v. Nike, Inc.,
       793 F.3d 1059 (9th Cir. 2015) ............................................................................ 28
  15
     Reaud v. Facebook Inc.,
  16   2024 WL 4126066 (N.D. Cal. Sept. 9, 2024)..................................................... 10
  17 Roberts v. McAfee, Inc.,
        660 F.3d 1156 (9th Cir. 2011) .............................................................................. 7
  18
     Schwarzenegger v. Fred Martin Motor Co.,
  19    374 F.3d 797 (9th Cir. 2004) .............................................................................. 27
  20 Square 1 Bank v. Lo,
  21    128 F. Supp. 3d 1257 (N.D. Cal. 2015)........................................................ 29, 30
        Tseng v. PeopleConnect, Inc.,
  22
           665 F. Supp. 3d 1136 (N.D. Cal. 2023)................................................................ 6
  23 United States ex rel. Hawkins v. Mantech Int’l Corp.,
  24   2024 WL 4332117 (D.D.C. Sep. 27, 2024)........................................................ 35
  25 United States v. eBay Inc.,
       2024 WL 4350523 (E.D.N.Y. Sept. 30, 2024) ................................................... 19
  26
     Wallach v. Johnson,
  27   2019 WL 4977474 (D. Ariz. Oct. 8, 2019) ........................................................ 24
  28
                                                                 vi
                    REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                     (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS                 Document 106            Filed 01/08/25         Page 9 of 47 Page ID
                                                 #:4420


    1 Will Co. v. Lee,
         47 F.4th 917 (9th Cir. 2022) ......................................................................... 23, 32
    2
      Williams v. Countrywide Fin. Corp.,
    3    2017 WL 986517 (C.D. Cal. Mar. 13, 2017) ....................................................... 8
    4 Yamashita v. LG Chem, Ltd.,
    5    62 F.4th 496 (9th Cir. 2023) ............................................................. 24, 28, 29, 34
    6 Yeager v. Bowlin,
         693 F.3d 1076 (9th Cir. 2012) .......................................................................... 5, 6
    7
      State Cases
    8 Christensen v. Superior Court,
    9       54 Cal. 3d 868 (1991) ........................................................................................... 9
  10 Cross v. Facebook, Inc.,
        14 Cal. App. 5th 190 (2017) ............................................................................... 12
  11
     Delfino v. Agilent Tech., Inc.,
  12    145 Cal. App. 4th 790 (2006) ............................................................................. 21
  13 Ibarra v. Carpinello,
  14    2011 WL 925719 (Cal. Ct. App. Mar. 18, 2011) ................................................. 6
        Kidron v. Movie Acquisition Corp.,
  15
           40 Cal. App. 4th 1571 (1995) ............................................................................. 13
  16 Federal Statutes
  17 18 U.S.C. § 1591(a)(1) .............................................................................................. 1
  18 18 U.S.C. § 1591(a)(2) ........................................................................................ 1, 22
  19 18 U.S.C. § 1595(a) ................................................................................................... 2
  20 18 U.S.C. § 1596(a) ................................................................................................. 34
  21 18 U.S.C. § 2255(c) ................................................................................................. 22
  22 18 U.S.C. § 3271(a) ................................................................................................. 35
     State Statutes
  23
     Cal. Bus. & Prof. Code §§ 17200 & 17500 ............................................................... 8
  24
     Cal. Civ. Code § 1780.85........................................................................................... 8
  25
     Cal. Civ. Code § 3344................................................................................................ 6
  26
     Cal. Civ. Code § 3425.3............................................................................................. 5
  27
  28
                                                                  vii
                    REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                     (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS                Document 106 Filed 01/08/25                    Page 10 of 47 Page
                                              ID #:4421


   1 Rules
   2 Fed. R. Civ. P 4(k)(2) ........................................................................................ 22, 23
   3
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                               viii
                   REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                    (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS        Document 106 Filed 01/08/25        Page 11 of 47 Page
                                      ID #:4422


   1                                       ARGUMENT
   2 I.      PLAINTIFFS HAVE NOT SUFFICIENTLY PLED BENEFICIARY
             LIABILITY UNDER THE TVPRA
   3
             As set forth in MindGeek’s Opening Brief here and in its Reply in support of
   4
       its motion to dismiss in the Fleites action, to establish beneficiary liability under the
   5
       Trafficking Victims Protection Act (“TVPRA”), Plaintiffs must plead that MindGeek
   6
       “knowingly . . . benefit[ted], financially or by receiving anything of value, from
   7
       participation in a venture which has engaged in an act described in violation of [18
   8
       U.S.C. § 1591(a)(1)],” i.e., a sex trafficking act. 18 U.S.C. § 1591(a)(2). As in
   9
       Fleites, Plaintiffs have failed to sufficiently allege MindGeek’s knowing
  10
       participation in a venture engaged in sex trafficking, and thus the beneficiary-liability
  11
       claims must be dismissed.
  12
             A.     Plaintiffs Fail to Allege that MindGeek Is a Participant in a
  13                Trafficking Venture.
  14         Having been alerted by MindGeek’s Reply in the Fleites action to a threshold
  15 failure in their pleading—that alleging participation in a venture does not adequately
  16 plead participation in a venture “which . . . has engaged in an act of sex trafficking”
  17 as required to establish beneficiary liability under the TVPRA, 18 U.S.C. §
  18 1591(a)(2); G.G. v. Salesforce.com, Inc., 76 F.4th 544, 548 (7th Cir. 2023)—
  19 Plaintiffs’ Opposition belatedly offers two sentences claiming that “MindGeek’s
  20 creation, hosting, and monetization of CSAM depicting Plaintiffs are commercial sex
  21 acts under the TVPRA.” Opp. 12. But this is not enough to save their fundamentally
  22 deficient theory. Untethered as they are to any specified facts from, or even a citation
  23 to, their Complaints, these conclusory sentences cannot magically transform
  24 MindGeek’s participation in a legal venture into one that has engaged in an act of sex
  25 trafficking. This Court therefore should not credit the tactic.
  26         With that gambit exposed, Plaintiffs are left to echo versions of the same
  27 arguments advanced in Fleites: that how MindGeek operates its business and makes
  28
                                                  1
                REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                 (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25      Page 12 of 47 Page
                                     ID #:4423


   1 its money, which Plaintiffs pejoratively characterize at length, Opp. 10-12, 14, is
   2 sufficient conduct to make it liable. But behind their repetition of inflammatory
   3 language about the allegedly “illicit” nature of MindGeek’s business, see, e.g., Opp.
   4 14, the heart of what Plaintiffs describe of MindGeek’s own conduct is a legal
   5 business engaged in legal activities. To this end, the Ninth Circuit’s Reddit case,
   6 which Plaintiffs wrongly attempt to discard as somehow irrelevant because it focused
   7 on a more limited issue on appeal, Opp. 13, continues to be instructive. While
   8 speaking in the context of the FOSTA exception to section 230 immunity, the Reddit
   9 panel expressly assessed the civil beneficiary-liability portion of the TVPRA, making
  10 Plaintiffs’ contention that Reddit “did not extend [its] standard to the civil analog
  11 statute outside the FOSTA exception” simply incorrect. Opp. 13. Indeed, the Reddit
  12 panel specifically cited Section 1595 to hold that, “[i]n a sex trafficking beneficiary
  13 suit against a defendant-website, the most important component is the defendant-
  14 website’s own conduct—its ‘participation in the venture.’ See 18 U.S.C. § 1595(a).”
  15 Does v. Reddit, Inc., 51 F.4th 1137, 1142 (9th Cir. 2022) (noting that “the ‘gravamen’
  16 of a section 1595 beneficiary claim is the defendant’s participation in and benefit
  17 from the trafficking scheme,” and therefore that, the key conduct for establishing
  18 liability is that of the defendant-website itself).
  19         As MindGeek outlined in its opening papers, the facts alleged by Plaintiffs in
  20 these cases are no more indicative of MindGeek having participated in a venture
  21 engaged in trafficking than the facts alleged in Reddit, which the Ninth Circuit held
  22 insufficient for beneficiary liability. Mot. 11-13. As in Reddit, Plaintiffs allege, in
  23 effect: that MindGeek’s moderation practices allowed CSAM to be uploaded to its
  24 sites; that MindGeek provided tools that helped users maximize traffic to their
  25 videos; that it did not act quickly enough to remove reported videos; and that it
  26 “earned revenue from ads it placed alongside Plaintiff’s images.” Opp. 10-11, 13-14;
  27 see also, e.g., K.A. Compl. ¶¶ 39, 59-61, 91, 121. These allegations might be
  28
                                                  2
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS        Document 106 Filed 01/08/25         Page 13 of 47 Page
                                      ID #:4424


   1 unflattering, but as was the case in Reddit, none of this conduct—even if assumed to
   2 be true—can establish MindGeek’s participation in trafficking.1
   3         Put simply, and dispositively, Plaintiffs cannot point to any allegation of fact
   4 in any of the Complaints that evinces MindGeek’s participation in the creation of the
   5 allegedly trafficked content. At best, as shown in the Fleites papers and MindGeek’s
   6 Opening Brief here, Plaintiffs have alleged trafficking by some of MindGeek’s users
   7 (including Plaintiffs’ individual traffickers), but the conduct of those individuals
   8 cannot as a matter of law be imputed to MindGeek to automatically transform
   9 MindGeek’s lawful business into a venture engaged in trafficking. Reddit, 51 F.4th
  10 at 1142-45.
  11         B.     Plaintiffs Also Fail to Allege that MindGeek Knowingly Benefitted.
  12         As was the case in Fleites, even if Plaintiffs had sufficiently pled the existence
  13 of a venture engaged in trafficking (and they have not), beneficiary liability under
  14 the TVPRA also requires a defendant to have knowingly benefitted from participating
  15 in the trafficking venture alleged. Plaintiffs have failed to plead that element as to
  16 MindGeek.
  17         As an initial matter, Plaintiffs again invoke the same two cases cited in the
  18 Fleites Opposition for the mistaken notion that Defendants need only have
  19
  20   1
         Plaintiffs attempt to convert MindGeek’s website tools to participation in sex
       trafficking by arguing that MindGeek’s “suggestions, instruction, or intervention” is
  21   evidence of MindGeek’s participation and benefit. Opp. 10-11. Fatal to Plaintiffs’
       argument is that none of the Complaints’ allegations cited in ostensible support of
  22   this self-serving conclusion specifies any “suggestions, instruction, or intervention”
       specific to the uploading of illegal content. See, e.g., K.A. ¶¶ 4, 43, 116. Instead, as
  23   alleged by Plaintiffs, the “How to Succeed” section of Pornhub’s website provides
       only suggestions to users for their selection of tags, writing creative titles, and adding
  24   a stage name to the title of the video. Id. ¶ 116. Plaintiffs then make the leap that the
       fact that MindGeek included tags like “teen,” “school,” “babysitter,” and
  25   “old/young” is “demonstrate[ive]” of how MindGeek was “specifically targeting
       viewers who are interested in child pornography.” Not only are those specific
  26   categories not presumptively and exclusively demonstrative of CSAM, but they
       mirror similar categories in Reddit, which included: “/r/BestYoungNSFW,”
  27   “r/teensdirtie,” “/r/TeenBeauties,” and “/r/YoungGirlsGoneWild.” Reddit, 51 F. 4th
       at 1139.
  28
                                                   3
                REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                 (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS        Document 106 Filed 01/08/25         Page 14 of 47 Page
                                      ID #:4425


   1 knowledge that a venture generally violated the TVPRA, but need not have victim-
   2 specific knowledge. Opp. 6-8 (citing Salesforce.com and Doe I v. Deutsche Bank
   3 Akteingesellschaft). But neither of those cases is remotely comparable to the facts
   4 alleged here, as MindGeek showed in detail in its Fleites papers. See Fleites Reply
   5 3-4 (distinguishing applicability of Salesforce and Deutsche Bank and noting in
   6 particular the “overwhelming presence of trafficking” in those cases).
   7         Plaintiffs next string-cite a laundry list of allegations that they represent show
   8 MindGeek’s “actual knowledge of their participation and benefits from a venture
   9 engaged in sex trafficking.” Opp. 15 (listing paragraphs). But the allegations
  10 themselves fall short of showing “actual knowledge.” They say, for instance: that
  11 MindGeek’s “business was built” on utilization of CSAM, id., which is not only a
  12 misstatement but also not indicative in any way of actual knowledge of MindGeek’s
  13 participation in a trafficking venture vis-à-vis Plaintiffs; and that the “tags, titles, and
  14 comments” on Plaintiffs’ videos should have indicated that Plaintiffs were minors,
  15 and that MindGeek reuploaded disabled videos under different usernames, id.,
  16 neither of which again has any bearing on whether MindGeek had actual knowledge
  17 of a trafficking venture as to Plaintiffs. Even Plaintiffs’ contention that MindGeek’s
  18 human moderators reviewed each video is not, standing alone, dispositive proof of
  19 actual knowledge. Though Plaintiffs cite to Doe v. MindGeek in purported support,
  20 they fail to point out that, in that case, MindGeek was alleged not only to have
  21 reviewed each video but also to have had specific knowledge of the Doe plaintiff’s
  22 ex-boyfriend, who had posted the relevant videos and was known to have posted
  23 videos depicting other victims. Doe v. MindGeek USA Inc., 574 F. Supp. 3d 760, 774
  24 (C.D. Cal. 2021). That is a level of specific knowledge that plainly exceeds Plaintiffs’
  25 allegations about MindGeek here.
  26         Read closely, the allegations Plaintiffs compile are subjective and inflated
  27 suggestions of, at most, a level of constructive knowledge that, as MindGeek
  28
                                                   4
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25       Page 15 of 47 Page
                                     ID #:4426


   1 conclusively established in its Reply in Fleites, is not sufficient to show actual
   2 knowledge. Fleites Reply 3-4. Indeed, Plaintiffs’ claims that the furnishing of “tags,
   3 titles, and comments” constitutes actual knowledge in this case are identical to those
   4 that Fleites contended constitute only constructive knowledge, and it is not clear what
   5 justifies their apparent elevation here. In any event, Plaintiffs have entirely failed to
   6 engage with MindGeek’s argument in Fleites that the constructive knowledge alleged
   7 is insufficient as a matter of law, choosing instead to simply repeat the same futile
   8 argument offered in the Opposition in Fleites. Compare Opp. 15-16 with Fleites Opp.
   9 18-19. But as MindGeek has already detailed in its Reply in Fleites, that argument
  10 fails, even as Plaintiffs have resurrected it here. See Fleites Reply 3-4.
  11 II.     PLAINTIFFS’ REMAINING CLAIMS ARE DEFICIENT AND
             SHOULD BE DISMISSED
  12
             A.    Plaintiffs’ State Claims Are Barred by Applicable Statutes of
  13               Limitations
  14         Plaintiffs’ contention that their state law claims “did not accrue until
  15 MindGeek remove[d] all illicit content of Plaintiffs on its sites”, Opp. 43, lacks legal
  16 merit. The essence of Plaintiffs’ claims of wrongdoing by MindGeek is MindGeek’s
  17 allegedly unauthorized use of their images. Opp. 42 (“the alleged wrongdoing was
  18 the continuous reformatting, re-uploading . . . , dissemination, and monetization of
  19 Plaintiffs’ CSAM images on MindGeek’s sites”). Plaintiffs’ non-TVPA state claims
  20 premised on this wrongdoing are therefore subject to the single-publication rule. Doe
  21 v. Aylo Glob. Ent. Inc., 2024 WL 4599539, at *8 (C.D. Cal. June 24, 2024)
  22 (dismissing claims for misappropriation of likeness, violation of right of privacy,
  23 false-light invasion of privacy, and intentional infliction of emotional distress as
  24 time-barred, because “[c]laims arising from an unauthorized use of a plaintiff’s name
  25 and image, such as Plaintiff’s publicity and privacy claims, are subject to the ‘single-
  26 publication rule’”); see also Cal. Civ. Code § 3425.3; Yeager v. Bowlin, 693 F.3d
  27 1076, 1081-82 (9th Cir. 2012) (applying single-publication rule to internet content);
  28
                                                 5
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS      Document 106 Filed 01/08/25        Page 16 of 47 Page
                                    ID #:4427


   1 Corinna Warm & Studio Warm LLC v. Innermost Ltd., 2022 WL 2062914, at *4
   2 (C.D. Cal. Apr. 26, 2022) (applying single-publication rule to Cal. Civ. Code § 3344
   3 claim); Mullan v. Daniels, 2021 WL 1323421, at *8 (N.D. Cal. Jan. 29, 2021)
   4 (dismissing emotional-distress, negligence, and trade-libel claims as time-barred
   5 because those claims were based on the same statements as a defamation claim which
   6 was subject to the single-publication rule and time-barred); Tseng v. PeopleConnect,
   7 Inc., 665 F. Supp. 3d 1136, 1144 (N.D. Cal. 2023) (applying single-publication rule
   8 to California UCL claim).
   9         Under the single-publication rule, the statute of limitations begins to run when
  10 the challenged material is “first made available to the public.” Yeager, 693 F.3d at
  11 1081-82. While the statute of limitations can be reset when a statement is republished,
  12 in the context of internet content, such resetting only occurs when “the statement
  13 itself is substantively altered or added to, or the website is directed to a new
  14 audience.” Yeager, 693 F.3d at 1082. “[C]ontinuing to host the statement” and/or
  15 modifying other parts of the website is not enough to constitute republication.” Id. at
  16 1084; Aylo Glob. Ent. Inc., 2024 WL 4599539, at *9 (“the Subject Videos would not
  17 be considered to be republished just by continuing to host the videos”). Reuploading
  18 a video in a format that has not been “substantively altered or added to” also does not
  19 constitute republication, even when the video is uploaded to a different website that
  20 is just as widely-accessible. See Aylo Glob. Ent. Inc., 2024 WL 4599539, at *9
  21 (finding that alleged reuploading of original video with a different title did not
  22 substantively alter the video or direct the website to a new audience and thus there
  23 was no republication of the video); Clark v. Viacom Int’l Inc., 617 F. App’x 495, 505
  24 (6th Cir. 2015) (“Statements that are posted to a forum that is prominently accessible
  25 to the online public have a presumptively global audience, and subsequent alterations
  26 of format . . . are not likely to have a measurable effect on the statements’ ability to
  27 be accessed by a new band of viewers.”); Ibarra v. Carpinello, 2011 WL 925719, at
  28
                                                 6
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS      Document 106 Filed 01/08/25        Page 17 of 47 Page
                                    ID #:4428


   1 *9 (Cal. Ct. App. Mar. 18, 2011) (“Defendants’ publication on the Internet, no matter
   2 how long it remained available thereafter, is deemed a single publication as of the
   3 date it was first posted.”).
   4         Here, Plaintiffs have failed to identify any legal support for the proposition
   5 that MindGeek’s alleged continued reformatting, reuploading, monetization, and
   6 dissemination of Plaintiffs’ videos constitute republication of their original videos on
   7 MindGeek’s sites.2 See Aylo Glob. Ent. Inc., 2024 WL 4599539, at *9 (rejecting
   8 argument that use of tagging in search algorithm attracted new audiences as opposed
   9 to just recommending the videos to users already on the website); Roberts v. McAfee,
  10 Inc., 660 F.3d 1156, 1168 (9th Cir. 2011) (failure to remove challenged content did
  11 not undermine application of single-publication rule). The statute of limitations for
  12 their non-TVPA state claims therefore began to accrue at the time Plaintiffs
  13 discovered the publication of the illicit videos, which, as explained in MindGeek’s
  14 Opening Brief at 15-24, was beyond the applicable limitations period for certain of
  15 the Plaintiffs’ claims.
  16         Similarly, Plaintiffs’ contention that their “claims have been tolled since
  17 February 19, 2021, due to the filing of the class action complaint in Doe v. MindGeek
  18 USA Inc., et al.”, Opp. 43, misstates applicable law. Because the Related Cases were
  19 filed in federal court, as was Does v. MindGeek USA, Plaintiffs’ state law claims are
  20 cross-jurisdictional, and California law does not apply, see American Pipe & Constr.
  21 Co. v. Utah, 414 U.S. 538 (1974), to cross-jurisdictional claims. See Centaur Classic
  22
       2
      Purportedly distinct injuries caused by MindGeek’s alleged continued reformatting,
  23 reuploading, monetization, and dissemination of Plaintiffs’ videos are in fact the
     “mere continuing impact” from the original posting of the videos and are therefore
  24 not subject to the continuing violation doctrine. See Jackson v. Medical Board of
     Cal., 2012 WL 13019955, at *6 (C.D. Cal. Apr. 19, 2012) (rejecting plaintiff’s
  25 application of the continuing tort doctrine under single-publication rule, reasoning
     that the continued public availability of the disputed content was “best characterized
  26 as a mere continuing impact from past violations [that] is not actionable’ as a new
     claim”); see also Knox v. Davis, 260 F.3d 1009, 1013 (9th Cir. 2001) (declining to
  27 apply the continuing violation doctrine where the plaintiff “failed to establish that a
     new violation occurs each time she is denied her visitation or mail privileges”
  28 because these denials were “merely the continuing effect of the original suspension”).
                                                 7
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS        Document 106 Filed 01/08/25         Page 18 of 47 Page
                                      ID #:4429


   1 Convertible Arbitrage Fund Ltd. v. Countrywide Fin. Corp., 878 F. Supp. 2d 1009,
   2 1017 (CD. Cal. 2011) (holding that “[b]ecause California does not recognize cross-
   3 jurisdictional tolling, th[e] Court ha[d] no authority to apply American Pipe to toll
   4 the state statutes of limitations”); Williams v. Countrywide Fin. Corp., 2017 WL
   5 986517, at *8 (C.D. Cal. Mar. 13, 2017) (adopting reasoning in Centaur Classic and
   6 dismissing state law claims because “California does not recognize American Pipe
   7 tolling in cases where a plaintiff pursues claims afforded by the law of one
   8 jurisdiction (i.e., California state court), in the courts of another jurisdiction (i.e.,
   9 federal district court)”). Therefore, Plaintiffs’ state law claims were not tolled by the
  10 filing of the class action in this jurisdiction.3
  11         B.     Plaintiffs’ Claim for Intentional Infliction of Emotional Distress Is
                    Insufficiently Pled.
  12
             Plaintiffs’ claim for intentional infliction of emotional distress (“IIED”) fails
  13
       because it is based on generalized allegations that do not support a reasonable
  14
       inference that MindGeek acted with the intention of causing the Plaintiffs’ emotional
  15
       distress or that MindGeek’s conduct arose to the requisite level of outrageousness.
  16
             To support this claim, Plaintiffs argue that, “construed in the light most
  17
       favorable to Plaintiffs,” the complaints allege the MindGeek Defendants:              (1)
  18
       reviewed each of Plaintiffs’ underage images or videos; (2) instructed traffickers on
  19
  20
       3
       Even if the Court were to apply American Pipe to toll the statute of limitations of
  21 Plaintiffs’ state-law claims as of February 19, 2021, certain of these claims would
     still be untimely based on the face of Plaintiffs’ complaints. See, e.g., K.A. (false
  22 light and misappropriate of likeness claims barred by applicable statutes of
     limitations); L.T. (false light claim barred by applicable one-year statute of
  23 limitations); N.Y. (misappropriate of likeness claims barred by applicable statutes of
     limitations); C.S. (same); S.O. (false light claim barred by applicable one-year statute
  24 of limitations); W.L. (same); A.K. (public disclosure of private facts, intrusion into
     private affairs, false light, misappropriation of likeness, Cal. Civ. Code § 1780.85,
  25 negligence, Cal. Bus. & Prof. Code §§ 17200 & 17500, intentional infliction of
     emotional distress, and civil conspiracy claims barred by applicable statutes of
  26 limitations); J.L (public disclosure of private facts, intrusion into private affairs, false
     light, misappropriation of likeness, Cal. Civ. Code § 1780.85, negligence, Cal. Bus.
  27 & Prof. Code §§ 17200 & 17500, intentional infliction of emotional distress, and civil
     conspiracy claims barred by applicable statutes of limitations).
  28
                                                   8
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25         Page 19 of 47 Page
                                     ID #:4430


   1 how to optimize the videos; (3) transformed, optimized, and incorporated Plaintiffs’
   2 content into the MindGeek SEO algorithm; (4) stonewalled victims who attempted
   3 to have this illicit content removed; and (5) then affirmatively reuploaded previously
   4 removed content under different names and titles. Opp. 44 (citing to Opp. § I.A).
   5 None of the actual allegations cited, however, is sufficient to show that MindGeek
   6 acted with an intent to inflict the Plaintiffs’ injuries or that it engaged in conduct with
   7 the realization that injury to the Plaintiffs would result. See Christensen v. Superior
   8 Court, 54 Cal. 3d 868, 906 (1991) (holding that plaintiffs failed to allege “that the
   9 conduct of any of the defendants was directed primarily at them, was calculated to
  10 cause them severe emotional distress, or was done with knowledge of their presence
  11 and of a substantial certainty that they would suffer severe emotional injury”
  12 (emphasis added)). Moreover, Plaintiffs’ conclusory allegations that MindGeek
  13 personnel “reviewed” the Plaintiffs’ videos “as they repeatedly have claimed to do
  14 for every image uploaded to its tubesites”, and “categorized, tagged, optimized” and
  15 “uploaded” the videos to its tubesites, K.A. Compl. ¶ 318, cannot save this claim.
  16 Plaintiffs have not pled facts showing that MindGeek even could have known, let
  17 alone did know, that the videos of the Plaintiffs contained underage material and were
  18 created without consent. See Caraccioli v. Facebook, Inc., 167 F. Supp. 3d 1056,
  19 1063 (N.D. Cal. 2016), aff’d, 700 F. App’x 588 (9th Cir. 2017) (concluding the
  20 plaintiff could not state a claim for IIED because the claim “require[s] intent on the
  21 part of the tortfeasor”).
  22         Plaintiffs’ allegations also are insufficient to plead that MindGeek engaged in
  23 any outrageous conduct. Indeed, Plaintiffs’ reliance on their allegation that Plaintiffs
  24 were victimized when they were “coerced and exploited” and the videos were
  25 “uploaded to MindGeek’s platform” confirms that the only actionable conduct
  26 alleged was committed by third parties and not MindGeek. See K.A. Compl. ¶ 318.
  27 The remaining conduct that allegedly victimized the Plaintiffs, i.e., “as a matter of
  28
                                                  9
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25        Page 20 of 47 Page
                                     ID #:4431


   1 course,” transferring videos to tubesites and users and failing to police and report
   2 such content to the authorities, K.A. Compl. ¶¶ 63, 68, “describes, at best, passive
   3 conduct” on the part of MindGeek, which is not actionable. Reaud v. Facebook Inc.,
   4 2024 WL 4126066, at *3 (N.D. Cal. Sept. 9, 2024); Caraccioli, 167 F. Supp. 3d at
   5 1064 (dismissing IIED claim where plaintiff failed to show Facebook acted
   6 intentionally in declining to remove content).4 Thus, Plaintiffs’ IIED claims must be
   7 dismissed.
   8         C.     Plaintiffs Have Not Pled Any Facts to Support MindGeek’s
                    Intentional Commission of Any Injury-Inflicting Conduct.
   9
             Plaintiffs fail to identify any allegations of fact establishing that MindGeek
  10
       intentionally committed any conduct giving rise to Plaintiffs’ deficient claims of
  11
       public disclosure of private facts (Count VII), intrusion into private affairs (Count
  12
       VIII), placing plaintiffs in a false light (Count IX), common law and statutory
  13
       misappropriation of name and likeness (Counts X and XI), and distribution of private
  14
       sexually explicit materials in violation of California Civil Code § 1708.85 (Count
  15
       XII). Plaintiffs contend that MindGeek “approve[d], optimize[d], upload[ed],
  16
       disseminate[d], [and] republish[ed] the videos to its other tubesites, “and” deploy[ed]
  17
       MindGeek’s algorithm to enhance traffic to Plaintiffs’ videos “with knowledge that
  18
       the Plaintiffs were minors and even, in certain circumstances, after Plaintiffs had
  19
       requested the videos be removed.” Opp. 46-47. Critically, however, Plaintiffs fail to
  20
       allege any specific facts to support an essential element that MindGeek knew that the
  21
  22
       4
       Plaintiffs’ reliance on Doe v. Johnson, 2018 WL 3239315, at *4 (S.D. Cal. July 3,
  23 2018) is misplaced. There, the defendant committed the outrageous conduct, i.e.,
     placing a camera in the drain of the women’s restroom in order to record female
  24 subordinates, and did not dispute that the IIED claim was sufficiently pled or its
     merits. In contrast, here, Plaintiffs merely aver in “conclusory terms” that MindGeek
  25 “knew, or recklessly disregarded, that Plaintiff was harmed by the illegal CSAM
     featuring her on defendants’ websites, but did nothing to help her, and instead
  26 directed and encouraged the proliferation of CSAM on its websites” without alleging
     “any facts establishing” that MindGeek “acted with an intent to injure [Plaintiffs] or
  27 even with a realization that [they] would be injured, as required to sustain an IIED
     claim.” Reaud, 2024 WL 4126066, at *3.
  28
                                                 10
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS      Document 106 Filed 01/08/25       Page 21 of 47 Page
                                    ID #:4432


   1 Plaintiffs were minors. Instead, Plaintiffs’ allegations concede that: (1) a then-
   2 boyfriend or unidentified third party published the videos in the first instance, not
   3 MindGeek; (2) MindGeek’s Terms of Service prohibit the posting of minors; (3)
   4 MindGeek employees regularly performed content-moderation functions; and (4)
   5 once the videos were reported to MindGeek as CSAM, the videos were removed from
   6 the MindGeek website. See, e.g., K.A. Compl. ¶¶ 50, 117, 311, 315-316. These
   7 allegations demonstrate that MindGeek did not intentionally approve, optimize,
   8 upload, disseminate or republish the minor Plaintiffs’ videos, and thus foreclose
   9 Counts VII, VIII, IX and XII. See Caraccioli, 167 F. Supp. 3d at 1064 (dismissing
  10 false-light and public-disclosure claims because plaintiff had not plausibly alleged
  11 the defendant’s publication of the content); Nikogosian v. Cavalry Portfolio Servs.,
  12 LLC, 2012 WL 2568124, at *3 (C.D. Cal. July 2, 2012) (dismissing false-light claim
  13 because plaintiff had not alleged that defendant published or otherwise
  14 communicated any statement to a third party).5
  15         D.    Plaintiffs’ Misappropriation Claims Are Insufficiently Pled for
                   Additional Reasons.
  16
             Plaintiffs do not claim they appeared in any ads for MindGeek, nor do they
  17
       argue that their images were used to suggest that they endorsed products advertised
  18
       on MindGeek’s website or that MindGeek capitalized on their specific identities.
  19
       Instead, Plaintiffs claim that MindGeek misappropriated their likenesses by (i)
  20
       “profiting from the unauthorized dissemination of Plaintiffs’ images and videos to
  21
       attract users and drive traffic;” and (ii) “profiting from the unauthorized use by
  22
  23
  24   5
       Plaintiffs’ reliance on Michaels v. Internet Ent. Grp., Inc., 5 F. Supp. 2d 823, 839-
     43(C.D. Cal. 1998) is inapposite. There, the defendant notified the plaintiffs that it
  25 had acquired the plaintiffs’ sex tape and all rights necessary to publish the tape. One
     of the plaintiffs notified the defendant that he had not authorized any distribution of
  26 the tape and that publication of the tape would violate the plaintiff’s common-law
     and statutory rights to privacy. Here, the complaints acknowledge that third parties
  27 uploaded the videos, and specify no allegations showing that MindGeek knew the
     videos contained underage material and were disseminated without consent.
  28
                                                11
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25       Page 22 of 47 Page
                                     ID #:4433


   1 placing advertisements alongside the videos of Plaintiff.” Opp. 48. Both theories are
   2 insufficient to state misappropriation claims.
   3         Plaintiffs fail to plead any facts to support MindGeek’s user of their videos to
   4 “attract users and drive traffic.” Opp. 48. Indeed, Plaintiffs fail to identify a single
   5 fact in the complaints showing that MindGeek used Plaintiffs’ videos to “grow their
   6 content library and perfect their SEO analysis,” id. Instead, Plaintiffs offer only
   7 generalized allegations about MindGeek’s “unrestricted content” SEO model. Id.
   8 (citing K.A. Compl. ¶¶ 59-61, 67, 74-77). And again, Plaintiffs concede that third
   9 parties published the videos in the first instance. See supra Section II(C). Perfect
  10 10, Inc. v. Google, Inc. is instructive. 2010 WL 9479060 (C.D. Cal. July 30, 2010),
  11 aff’d, 653 F.3d 976 (9th Cir. 2011). There, Google owned and operated a service that
  12 allowed account holders to create their own blogs hosted on Google’s servers,
  13 including blogger websites that displayed the plaintiff’s name and likeness. Id. at
  14 *13. The plaintiff argued Google “materially contribut[ed] to violations of Perfect
  15 10’s assigned rights of publicity by providing the advertising which satisfies the
  16 commercial purpose necessary to establish a violation of Section 3344(a) and the
  17 common law.” Id. The court rejected this argument, explaining that “a plaintiff must
  18 show that the defendant appropriated the plaintiff’s name or likeness for commercial
  19 purposes, and there must be a direct connection between the defendant’s use of the
  20 likeness and that commercial purpose.” Id. (emphasis in original). Just like Google,
  21 MindGeek’s alleged “contribution” to third parties’ violation of the Plaintiffs’ rights
  22 “is not the same as actually ‘violating’” them. Id.
  23         Finally, as a matter of California law, merely hosting an image of the Plaintiffs
  24 adjacent to ads with no connection to them is not an actionable “use” of their
  25 identities. See Cross v. Facebook, Inc., 14 Cal. App. 5th 190, 210 (2017) (unrelated
  26 ads created by third-party users adjacent to the content that allegedly used plaintiff’s
  27
  28
                                                 12
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25        Page 23 of 47 Page
                                     ID #:4434


   1 likeness did not support that Facebook used plaintiff’s identity). Counts X and XI
   2 therefore must be dismissed.
   3         E.     Plaintiffs’ Unfair-Competition Claims Must Be Dismissed Because
                    They Have Not Alleged Any Economic Injury.
   4
             Plaintiffs argue that they were harmed as a result of MindGeek’s unfair
   5
       business practices “when they sustained financial losses by having to pay for therapy,
   6
       by taking time away from work, and by having to hire investigative firms to have
   7
       their images taken down.” Opp. 54. Plaintiffs ignore, however, their fatal failure to
   8
       specify any losses of money or property caused by MindGeek’s unfair competition,
   9
       i.e., fraudulently deceiving “its users that they were monetizing, distributing, and
  10
       advertising legitimate, legal content.” See, e.g., K.A. Compl. ¶ 432; Reddit, 2021 WL
  11
       5860904, at *9 (dismissing UCL claim where “there is no indication in the
  12
       [complaint] that Plaintiffs have lost money or property as a result of Reddit’s alleged
  13
       conduct”). On this ground alone, Count XIV must be dismissed.
  14
             F.     Plaintiffs Have Not Alleged a Claim for Civil Conspiracy
  15
             Plaintiffs contend that “Defendants’ civil conspiracy can be easily inferred
  16
       here based on Colbeck’s Redwood’s’ [sic] and Visa’s years-long relationships with
  17
       MindGeek, their actual knowledge of the extent of MindGeek’s criminal conduct,
  18
       and Defendants’ motives to maximize their own profits.” Opp. 52 (citations omitted).
  19
       Not so. To adequately plead a claim for conspiracy, “plaintiffs must allege: (1) the
  20
       formation and operation of the conspiracy, (2) wrongful conduct in furtherance of the
  21
       conspiracy, and (3) damages arising from the wrongful conduct.” Lu v. Deng, 2016
  22
       WL 6583599, at *5 (C.D. Cal. Nov. 7, 2016). The conspirators must “agree to do
  23
       some act which is classified as a ‘civil wrong’ . . . . [and] must have actual knowledge
  24
       that a tort is planned and concur in the tortious scheme with knowledge of its
  25
       unlawful purpose.” Kidron v. Movie Acquisition Corp., 40 Cal. App. 4th 1571, 1582
  26
       (1995).
  27
  28
                                                 13
                 REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                  (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25        Page 24 of 47 Page
                                     ID #:4435


   1         Plaintiffs have not alleged facts showing any “meeting of the minds” between
   2 the defendants, or even facts regarding actions defendants “took in furtherance of the
   3 conspiracy.” See Ponomarenko v. Shapiro, 287 F. Supp. 3d 816, 831 (N.D. Cal.
   4 2018). Plaintiffs do not even attempt to identify any such alleged facts and instead
   5 merely assert that “MindGeek was engaged in a venture to profit from sex-trafficking
   6 and to distribute private, sexually explicit materials, and Visa, Colbeck, and
   7 Redwood each knowingly and intentionally agreed to provide MindGeek with the
   8 means to effectuate and continue that venture with the resources, assistance, and tools
   9 necessary to profit from and grow that venture.” Opp. 51. Plaintiffs fail to allege
  10 “how the conspiracy formed or operated,” and whether the defendants “had
  11 knowledge of or intent to aid in wrongful activity.” Id. Plaintiffs’ cursory allegation
  12 that “defendants conspired and acted in concert to commit unlawful acts,” see, e.g.,
  13 K.A. Compl. ¶ 453, is not enough to state a claim for civil conspiracy, and thus Count
  14 XVI must be dismissed. See Lu, 2016 WL 6583599, at *5.
  15         G.     Plaintiffs Have Not Stated, and Cannot State a Claim for
                    Negligence.
  16
             Plaintiffs cite to no case law which refutes MindGeek’s showing that, on the
  17
       facts alleged, MindGeek owed Plaintiffs any legal duty. Instead, Plaintiffs continue
  18
       to baselessly insist that MindGeek breached its duty to use ordinary care to prevent
  19
       injury to Plaintiffs because it was “eminently foreseeable that an unrestricted content
  20
       business model would lead to the optimization and monetization of illegal and
  21
       exploitive pornography.” Opp. 49. In so doing, Plaintiffs misconstrue the authority
  22
       which MindGeek has cited and which makes clear that it does not have a legal duty
  23
       to inspect every single user-generated message before it is displayed to the public.
  24
       Contrary to Plaintiffs’ wishful spin, these cases are not “plainly distinguishable”
  25
       because they ostensibly involve “purely passive posting of third-party content,”
  26
       whereas MindGeek allegedly “transform[ed], optimiz[ed], commercializ[ed],
  27
       distribut[ed], and monetize[d] Plaitniffs’ CSAM content.” Opp. 50.
  28
                                                 14
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25       Page 25 of 47 Page
                                     ID #:4436


   1         To the contrary, all of the plaintiffs in the cases MindGeek cites alleged more
   2 than “passive conduct” by the defendant. In Reddit, the plaintiff alleged that Reddit
   3 “knowingly facilitates the posting of CSEM and benefits from the CSEM in the form
   4 of increased advertising revenue and subscription fees by premium Reddit users” by,
   5 inter alia, “highlight[ing] subreddits that feature child pornography to sell advertising
   6 on [its] pages.” Doe v. Reddit, Inc., 2021 WL 5860904, at *2 (C.D. Cal. Oct. 7, 2021);
   7 Does 1-6 v. Reddit, Inc., 51 F.4th 1137, 1145 (9th Cir. 2022). The district court
   8 nonetheless concluded Reddit did not have “a legal duty to inspect every single user-
   9 generated message before it is communicated to a single person or displayed to the
  10 public[.]” Reddit, 2021 WL 5860904, at *8. And in Dyroff v. Ultimate Software Grp.,
  11 Inc., 934 F.3d 1093, 1095 (9th Cir. 2019), the plaintiff alleged that Ultimate Software
  12 “steered users to additional groups dedicated to the sale and use of narcotics,” and
  13 “sent users alerts to posts within groups that were dedicated to the sale and use of
  14 narcotics.” Still, the court concluded that Ultimate Software did not owe any duty to
  15 the plaintiff’s son because the relevant “recommendations and notifications”
  16 facilitated communication only in a content-neutral fashion. Id. at 1097-98.
  17         Here, MindGeek’s alleged use of “SEO” (Search Engine Optimization) to
  18 “generat[e] traffic and obtain[] content,” K.A. Compl. ¶ 48, similarly facilitates
  19 communication in a content-neutral fashion because, as with Ultimate Software’s
  20 alleged “recommendations and notifications,” SEO is “used regardless of the groups
  21 in which a user participated.” Dyroff, 934 F.3d at 1101 (“No website could function
  22 if a duty of care was created when a website facilitates communication, in a content-
  23 neutral fashion, of its users’ content.”). Indeed, Plaintiffs concede as much:
  24 “MindGeek’s motivation for its unrestricted use of nonconsensual content was its
  25 singular priority of using SEO to be the top search engine website result in any porn
  26 related search.” K.A. Compl. ¶ 59 (emphasis added). Because MindGeek therefore
  27 did not owe a duty of care to Plaintiffs, their negligence claims must be dismissed.
  28
                                                 15
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25        Page 26 of 47 Page
                                     ID #:4437


   1 III.    SECTION 230 REQUIRES DISMISSAL OF ALL OF PLAINTIFFS’
             CLAIMS
   2
             A.     MindGeek Did Not Create or Develop the Unlawful Content.
   3
             Like Fleites before them, Plaintiffs acknowledge that section 230 bars their
   4
       claims unless their complaints sufficiently allege that MindGeek made a “material
   5
       contribution” to the unlawful content at issue. Opp. 55. Also like Fleites, in arguing
   6
       that MindGeek is a “content creator,” Plaintiffs fail to confront the actual applicable
   7
       legal standard and instead attempt to distract the Court with incendiary—and false—
   8
       allegations regarding MindGeek’s purportedly overarching business practices. But
   9
       just as the Fleites SAC offered no actionable allegations of fact, the Plaintiffs’
  10
       complaints and Opposition again fail to demonstrate how MindGeek “materially
  11
       contributed” to the creation of the videos of the Plaintiffs. Therefore, for the reasons
  12
       explained in MindGeek’s Reply in Fleites and further below, Plaintiffs’ complaints
  13
       should be dismissed.
  14
             Plaintiffs profoundly mischaracterize “[t]he gravamen of MindGeek’s
  15
       [s]ection 230 defense,” Opp. 55, just as they misconstrue their underlying allegations
  16
       as somehow asserting facts showing that MindGeek “create[es] and develop[s] []
  17
       child pornography.” See Opp. 56. The true gravamen of MindGeek’s section 230
  18
       defense is that, when properly applied to the actual factual allegations as set forth in
  19
       Plaintiffs’ complaints, the governing law—which holds that even if a website
  20
       operator “could be considered an information content provider,” section 230 “still
  21
       bar[s] [a plaintiff’s] claim unless [the website operator] created or developed the
  22
       particular [content] at issue”—dictates dismissal of Plaintiffs’ claims as barred by
  23
       section 230. Carafano v. Metrosplash.com, Inc., 339 F.3d 1119, 1125 (9th Cir. 2003)
  24
       (emphasis added); accord Fed. Agency of News LLC v. Facebook, Inc., 432 F. Supp.
  25
       3d 1107, 1118 (N.D. Cal. 2020) (section 230 barred plaintiff’s claims that Facebook
  26
       “created other content,” including by utilizing “data mining” “to direct users to
  27
       content in order to generate billions in revenue,” as well as the third-party account,
  28
                                                 16
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS        Document 106 Filed 01/08/25        Page 27 of 47 Page
                                      ID #:4438


   1 posts, and content at issue). Plaintiffs contend in their Opposition that MindGeek
   2 “edits the titles, tags, thumbnails, and scenes” to optimize the search and promotion
   3 of uploaded content. These allegations that MindGeek may have created or
   4 developed content other than the videos of Plaintiffs—which Plaintiffs do not dispute
   5 were all created by third parties—are therefore irrelevant. But even if the Court were
   6 to consider Plaintiffs’ allegations that extend beyond the specific content depicting
   7 Plaintiffs as relevant to the section 230 analysis, the content-neutral tools and
   8 processes to which Plaintiffs point—such as titles, tags, thumbnails, and search
   9 algorithm—are not sufficient to deny section 230 immunity here because the
  10 complaints still fail to show “substantial affirmative conduct on the part of
  11 [MindGeek] promoting the use of [its] tools for unlawful purposes.”6 Fair Housing
  12 Council of San Fernando Valley v. Roommates.com, LLC, 521 F.3d 1157, 1174 n.37
  13 (9th Cir. 2008) (emphasis added). Merely asserting in their Opposition that “Plaintiffs
  14 have thoroughly pled MindGeek’s contributions to the creation and development of
  15 illegal content on its websites, including Plaintiffs’ videos,” without pointing to—or
  16 ever pleading—sufficient facts in their complaints to overcome applicable precedent,
  17 does not make the assertion one on which this Court may properly rely, for these
  18 primary reasons:
  19         First, like Fleites, none of the complaints allege that MindGeek created
  20 Plaintiffs’ videos. None of the generalized allegations about MindGeek’s
  21 overarching business practices remedy this undeniable flaw in Plaintiffs’ arguments.
  22 For example, they argue with respect to content creation that MindGeek “provides
  23
  24   6
         Plaintiff’s reliance on earlier cases in which courts allowed claims to proceed
       against MindGeek is unavailing. See Opp. 56. As explained in MindGeek’s Reply in
  25   Fleites, although those cases were brought against MindGeek and involved
       allegations about MindGeek’s general business practices, those cases involved
  26   materially different plaintiffs’ circumstances, and were decided without the benefit
       of the Ninth Circuit’s most recent opinion on section 230 immunity in Reddit and
  27   Doe v. WebGroup Czech Republic, a.s., 2024 WL 3533426, at *6-7 (C.D. Cal. July
       24, 2024), a decision from this District that addressed allegations very similar to those
  28   asserted by Plaintiff,
                                                  17
                REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                 (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS      Document 106 Filed 01/08/25        Page 28 of 47 Page
                                    ID #:4439


   1 its global network of sex traffickers VPN services to allow them to obscure their
   2 locations and identities.” Opp. 57. Even assuming, arguendo, the truth of this
   3 allegation, this “global network of sex traffickers” is irrelevant to Plaintiffs’ videos
   4 because they were created by third parties whom Plaintiffs do not allege are part of
   5 this global network. Plaintiffs also fail to show how the alleged use of VPN services
   6 “materially contributed” to the unlawful content posted on MindGeek’s websites,
   7 rather than simply being used to make available a neutral tool accessible to all of the
   8 website’s users and plainly protected under section 230. See Doe v. WebGroup Czech
   9 Republic, a.s., 2024 WL 3533426, at *7 (C.D. Cal. July 24, 2024) (dismissing claims
  10 based on CSAM posted on websites operated by defendants on section 230 grounds
  11 where plaintiffs alleged in part that the defendants use VPNs to anonymize web
  12 traffic).
  13         Second, like Fleites, Plaintiffs’ mischaracterizations of MindGeek’s conduct,
  14 even if they were accurate, amount to no more than formatting of existing third-party-
  15 user content and offering neutral tools to direct user traffic to user-created content.
  16 Opp. 56-57. But even if the underlying allegations in the complaints to which
  17 Plaintiffs cite for these mischaracterizations were true, they do not overcome section
  18 230 immunity. The use of titles, tags, categories, and keywords to facilitate a user’s
  19 search of content—even if that search is for unlawful or illicit content, or the titles,
  20 tags, and categories include indicia of CSAM, or the website operator knows that
  21 third parties use those tools to create illegal content—and the use of thumbnails and
  22 other actions to edit for length “do[] not amount to ‘development’ for purposes of the
  23 immunity exception.” Roommates, 521 F.3d at 1169.7
  24
       7
        See id. (“A website operator who edits user-created content—such as by . . .
  25 trimming for length—retains his immunity for any illegality in the user-created
     content, provided that the edits are unrelated to the illegality.”); WebGroup Czech,
  26 2024 WL 3533426, at *7-8 (applying section 230 to preclude claims where
     defendants made available to users “titles, tags, keywords, search terms, and
  27 categories” “indicative of CSAM” because such tools are “either a standard
     publishing function or a neutral tool made available to all third parties seeking to
  28 (footnote continued)
                                                18
                 REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                  (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS        Document 106 Filed 01/08/25         Page 29 of 47 Page
                                      ID #:4440


   1         Third, Plaintiffs’ contention that MindGeek “maintains the webpage and
   2 thumbnails for disabled videos so that the MindGeek Defendants can continue to
   3 generate traffic and revenue from that illegal content and direct users to similar
   4 content” and “reuploads removed content”, Opp. 57, is not enough to save Plaintiffs’
   5 claims. In Reddit, the Ninth Circuit assessed a very similar argument: that Reddit,
   6 like MindGeek, “has done little to remove the unlawful content or prevent it from
   7 being posted, because it drives user traffic and revenue.” 51 F.4th at 1139. There, the
   8 Ninth Circuit concluded that such allegations were not enough to preclude section
   9 230 immunity, and the same conclusion should be drawn here. Id. at 1142.
  10         Fourth, Plaintiff J.L.’s contention that “MindGeek maintains account
  11 representatives for its content partner channels to help create trailers, revise content,
  12 and advertise illicit content”, Opp. 57, is similarly insufficient to save her claims.
  13 That MindGeek may devote an account representative to its content-partner channels
  14 does not transform into actionable illegal misconduct the neutral use of titles, tags,
  15 categories, keywords, and other tools to facilitate a user’s search of content, and
  16 Plaintiffs conspicuously fail to cite to any case law showing otherwise.
  17         Finally, Plaintiffs continue to mislead by claiming that “MindGeek has not set
  18 forth any new facts or new cases that would warrant a different result.” Opp. 57. It is
  19 not MindGeek’s burden at this stage to come forth with any facts. It is Plaintiffs’
  20 burden to plead sufficient facts to show that MindGeek materially contributed to the
  21 videos of the Plaintiffs under applicable law. Plaintiffs have not done so. Plaintiffs
  22
  23 upload material onto Defendants’ websites”); Goddard v. Google, Inc., 640 F. Supp.
     2d 1193, 1197-98 (N.D. Cal. 2009) (finding Google’s Keyword Tool a neutral tool
  24 because “the users ultimately determine what content to post”). Similarly,
     administrative and technical support provided by MindGeeek to users uploading
  25 content does not “materially contribut[e] to [the content’s] alleged unlawfulness.”
     United States v. eBay Inc., 2024 WL 4350523, at *10 (E.D.N.Y. Sept. 30, 2024)
  26 (applying section 230 immunity even where plaintiff alleged that eBay has
     “pervasive control over every aspect of the transaction on its website,” and eBay,
  27 among other things, “assists in the drafting of the product listing, actively markets
     the listings, . . . takes a fee . . . handles disputes” because such conduct was “neutral”).
  28
                                                  19
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25        Page 30 of 47 Page
                                     ID #:4441


   1 are correct, however, that the cases to which MindGeek cites in its Opening Brief did
   2 not involve allegations sufficient to show “defendants’ material contribution to the
   3 illegality of the content at issue.” Opp. 57. That is the point. Those cases either failed
   4 on allegations similar to those asserted by Plaintiffs here, and which similarly failed
   5 to meet the applicable legal standard to warrant an exception to section 230, or they
   6 were cited to show that all of Plaintiffs’ proffered causes of action are barred by
   7 section 230 when applicable. See Fyk v. Facebook, Inc., 808 F. App’x 597, 598 (9th
   8 Cir. 2020) (barring claims under section 230 where third-party content at issue was
   9 not altered by defendant); Planet Green Cartridges, Inc. v. Amazon.com, Inc., 2023
  10 WL 8943219, at *6-7 (C.D. Cal. Dec. 5, 2023) (barring claims under section 230
  11 where defendant’s role as “online marketer, driving traffic, and promoting, selling,
  12 and distributing products” was content-neutral); Pennie v. Twitter, Inc., 281 F. Supp.
  13 3d 874, 890 (N.D. Cal. 2017) (reiterating that “some editing on user-generated
  14 content” does not vitiate the applicability of section 230); Caraccioli v. Facebook,
  15 Inc., 700 F. Appx. 588, 590 (9th Cir. 2017) (barring claims for public disclosure of
  16 private facts, intrusion upon seclusion, and false light under section 230, concluding
  17 that the defendant “did not become the ‘information content provider’ under §
  18 230(c)(1) merely by virtue of reviewing the contents of the suspect account and
  19 deciding not to remove it”); Joude v. WordPress Found., 2014 WL 3107441, at *7-
  20 8 (N.D. Cal. July 3, 2014) (barring common law misappropriation of likeness claim
  21 under section 230 where defendant was alleged to have hosted, maintained, and
  22 administered blog content at issue); Callahan v. Ancestry.com Inc., 2021 WL
  23 783524, at *6 (N.D. Cal. Mar. 1, 2021) (barring statutory misappropriation-of-
  24 likeness claim under section 230 where defendant posted content at issue in altered
  25 format and made content accessible on different platform); Doe #1 v. Twitter, Inc.,
  26 2023 WL 3220912, at *2 (9th Cir. May 3, 2023) (barring 18 U.S.C. §§ 1591, 1595,
  27 2252A, and 2255 claims under section 230 where defendant failed to take down
  28
                                                 20
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25       Page 31 of 47 Page
                                     ID #:4442


   1 alleged CSAM posts on site); J.B. v. G6 Hospitality, LLC, 2020 WL 4901196, at *7
   2 (N.D. Cal. Aug. 20, 2020) (barring similar claims under section 230 where defendant
   3 hosted victim’s alleged CSAM posts, despite allegations that defendant knew its site
   4 was used for such illicit content, should have known that the actual posts were
   5 CSAM, and did nothing to verify the actual ages of the individuals being advertised
   6 on its site); Doe v. Bates, 2006 WL 3813758, at *4 (E.D. Tex. Dec. 27, 2006) (barring
   7 similar claims under section 230, finding that the purported profits generated by
   8 defendant from advertising on the page with the illicit content was not relevant in
   9 determining section 230 applicability, and reiterating that “[w]hile the facts of a child
  10 pornography case . . . may be highly offensive, Congress has decided that the parties
  11 to be punished and deterred are not the internet service providers but rather are those
  12 who created and posted the illegal material”); Delfino v. Agilent Tech., Inc., 145 Cal.
  13 App. 4th 790, 807 (2006) (barring claim for intentional infliction of emotional
  14 distress under section 230 where defendant’s employee was solely responsible for
  15 the creation of the illicit content). Plaintiffs have failed to make any meaningful
  16 distinction between the allegations of the claims precluded by section 230 in
  17 MindGeek’s cited cases and the allegations asserted by Plaintiffs here.8
  18         B.     FOSTA’s Exception to Section 230 Immunity Does Not Apply.
  19
       8
       None of MindGeek’s arguments or the applicability of the cases cited therein are
  20 undermined by the summary-judgment ruling in Doe v. MG Freesites, Ltd. et al, No.
     7:21-cv-00220-LSC (N.D. Ala. Dec. 19, 2024), which Plaintiffs submitted as
  21 supplemental authority after the filing of their Opposition. There, the court concluded
     that section 230 immunity did not apply because it found that the MindGeek
  22 defendants had created CSAM solely by “creating thumbnails” and “creating tags
     and categories associated with CSAM.” Id. at 24-25. The Alabama court, however,
  23 failed to consider that the content in the thumbnails was user-generated and not
     created by MindGeek, and that making available the tags and categories on their own
  24 is not illegal. Id. at 24-31. Most importantly, the Alabama court was under no
     obligation to follow Ninth Circuit case law and therefore did not apply any Ninth
  25 Circuit precedent in its ruling (indeed, it explicitly stated that Ninth Circuit case law
     is not binding on it). Id. at 34. While the Alabama court may ignore Ninth Circuit
  26 precedent, Plaintiffs cannot—and as explained throughout MindGeek’s Motion and
     Reply here (and in Fleites), the conduct alleged by Plaintiffs does not amount to
  27 content creation by MindGeek, and therefore, section 230 immunity applies to bar all
     of their claims.
  28
                                                 21
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25        Page 32 of 47 Page
                                     ID #:4443


   1         Plaintiffs similarly fail to plead sufficient facts to show that the FOSTA
   2 exception to section 230 immunity applies, for all the reasons explained in
   3 MindGeek’s Opening Brief at 7-12, its Fleites Reply at 11-12, and above.
   4 Importantly, Plaintiffs wrongly posit that “MindGeek’s [alleged] actions are
   5 materially different than those in Reddit [sic].” At bottom, Plaintiffs’ allegations,
   6 including those regarding the specific videos depicting them, proffer no more than
   7 what the plaintiffs in Reddit alleged: that “[MindGeek] provides a platform where it
   8 is easy to share child pornography, highlights [content] that features child
   9 pornography to sell advertising on those pages, allows [its moderators to participate
  10 in the sharing and promotion of child pornography], and fails to remove child
  11 pornography even when users report.” Reddit, 51 F.4th at 1145. Just as the Ninth
  12 Circuit found there, such allegations do not show that MindGeek “knowingly
  13 participated in or benefited from a sex trafficking venture.” Id. Plaintiffs’ complaints
  14 therefore fail to sufficiently plead violations of Section 1591(a)(2) to establish
  15 beneficiary liability. Accordingly, section 230 applies to bar Plaintiff’s claims under
  16 the TVPRA.
  17 IV.     PLAINTIFFS’ JURISDICTIONAL ARGUMENTS FAIL TO MEET
             THEIR BURDEN.
  18
             A.     MindGeek S.à r.l. Has No Relevant Contacts with the United States
  19                and Thus Is Not Subject to Jurisdiction under Rule 4(k)(2) or 18
                    U.S.C. § 2255(c) as to of Any Plaintiffs’ Claims.
  20
             Seeking to establish personal jurisdiction over MindGeek S.à r.l. in these
  21
       cases, Plaintiffs, represented by the same counsel as in Fleites, have resurrected a
  22
       theory of personal jurisdiction long disproven: that MindGeek S.à r.l. operates
  23
       Pornhub in the United States and is thus subject to jurisdiction anywhere in the United
  24
       States under Rule 4(k)(2) and 18 U.S.C. § 2255(c). See Opp. 74-76. But those
  25
       allegations—directly contradicted by MindGeek’s evidence—are unsupported by
  26
       any evidence either here or in Fleites. Andreou Decl. ¶ 28, ECF No. 78-2. The
  27
       undisputed fact is that MindGeek S.à r.l. is merely “a holding company, without any
  28
                                                 22
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25         Page 33 of 47 Page
                                     ID #:4444


   1 employees or operations of its own.” Id. ¶ 28. MindGeek S.à r.l. thus does not operate
   2 or own any of the websites or servers that “hosted, transferred, offered, distributed,
   3 advertised, [or] sold CSAM” at issue. See Opp. 80; Andreou Decl. ¶ 32 (clarifying
   4 that MG Freesites operates the tubesites at issue). Plaintiffs’ cited cases are thus inapt,
   5 since each involved allegations that the defendants were actually operating or
   6 creating the website at issue, not merely that they were the operator’s parent entity.
   7 See Doe v. WebGroup Czech Republic, a.s., 93 F.4th 442, 447 (9th Cir. 2024) (both
   8 defendants “operated” the websites at issue); Will Co. v. Lee, 47 F.4th 917, 919-22
   9 (9th Cir. 2022) (one defendant “created the site and purchased its domain name” and
  10 the other operated the website). And the jurisdictional contacts of any of MindGeek
  11 S.à r.l.’s operating subsidiaries cannot be imputed to it absent an alter-ego theory
  12 (which, as discussed below, Plaintiffs fail to demonstrate). See Doe v. Unocal Corp.,
  13 248 F.3d 915, 925 (9th Cir. 2001). Pornhub’s activities thus do not demonstrate any
  14 contacts between the United States and MindGeek S.à r.l., a separate legal entity. See
  15 Aylo Glob. Ent. Inc., 2024 WL 4599539, at *10 (concluding MindGeek S.à r.l. is not
  16 subject to personal jurisdiction under Rule 4(k)(2) because it is not the entity that
  17 operates Pornhub).
  18         Plaintiffs’ reliance on a Deferred Prosecution Agreement (“DPA”) in the
  19 Eastern District of New York does not establish the requisite contacts by MindGeek
  20 S.à r.l. in the United States to establish jurisdiction. See Opp. 73. None of the facts
  21 stated in the DPA were established as to MindGeek S.à r.l. specifically. Instead,
  22 “MindGeek” and the “Company” are defined as “MindGeek S.à r.l. (together with its
  23 wholly-owned subsidiaries and affiliated entities . . . ).” Dkt. No. 9, Case No. 1:23-
  24 cr-00463-BMC-LB, at 48 (emphasis added). It is well-settled that consent to personal
  25 jurisdiction in one case does not justify the exercise of personal jurisdiction in a
  26 separate case. See AM Tr. v. UBS AG, 681 F. App’x 587, 589 (9th Cir. 2017) (the fact
  27 that “UBS may have given [consent] to personal jurisdiction in California in other
  28
                                                  23
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS      Document 106 Filed 01/08/25        Page 34 of 47 Page
                                    ID #:4445


   1 cases” did not “amount to consent to personal jurisdiction in this case”); Dow Chem.
   2 Co. v. Calderon, 422 F.3d 827, 833 (9th Cir. 2005) (rejecting argument that “by
   3 failing to object to lack of personal jurisdiction in that suit, the [] defendants
   4 impliedly consented to personal jurisdiction in this action”); Engineered Floors, LLC
   5 v. Lakeshore Equip. Co., 2023 WL 4203512, at *9(C.D. Cal. May 18, 2023)
   6 (collecting cases).
   7        For the same reason, neither the guaranty of U.S.-based loans nor the choice-
   8 of-law and forum-selection clauses in the Shareholders’ Agreement establish
   9 personal jurisdiction in this case. See Opp. 73-74. Plaintiffs are not parties to any of
  10 those agreements, and those agreements have no bearing on any of Plaintiffs’ claims
  11 here. Plaintiffs cannot “piggyback” on those agreements to establish personal
  12 jurisdiction in this entirely separate case. Wallach v. Johnson, 2019 WL 4977474, at
  13 *3 (D. Ariz. Oct. 8, 2019); see, e.g., 42 Ventures v. Rend, 2020 WL 6257069, at *
  14 (D. Haw. Oct. 23, 2020) (rejecting assertion of personal jurisdiction based on
  15 “Defendants’ agreements with third parties about choice of law, jurisdiction, or
  16 venue” because they were “unrelated to personal jurisdiction[] in this case, where
  17 Plaintiff was not a party to those agreements, nor is the allegedly infringing conduct
  18 related to Defendants’ performance under those contracts”); Pfister v. Selling Source,
  19 LLC, 931 F. Supp. 2d 1109, 1116 (D. Nev. 2013) (rejecting exercise of jurisdiction
  20 based on arbitration clause designating Nevada as the forum where the plaintiff was
  21 not a party to that agreement and did “not contend that it applies to her claim”).
  22 Indeed, to support jurisdiction here, any alleged contact must give rise, or be
  23 “close[ly] connect[ed],” to Plaintiffs’ injury. See Yamashita v. LG Chem, Ltd., 62
  24 F.4th 496, 506 (9th Cir. 2023) (“‘relate to’ ‘does not mean anything goes’”). Yet
  25 contacts related to other business activities in the forum—like the Shareholders’
  26 Agreement or loan agreements with U.S. lenders here—do not justify personal
  27 jurisdiction over unrelated claims with unrelated parties. Id. at 506 (some contacts
  28
                                                24
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25         Page 35 of 47 Page
                                     ID #:4446


   1 with the forum state not sufficient where they related to other business activities).
   2         B.     Plaintiffs’ Alter-Ego Allegations Fail for the Same Reasons as in
                    Fleites.
   3
             Plaintiffs rely again on the allegations, arguments, and evidence in Fleites to
   4
       support their claim that all the Defendants are subject to personal jurisdiction in
   5
       California because they are the alter-ego of each other. Yet as explained in Fleites,
   6
       Plaintiffs cannot meet their burden of demonstrating that MindGeek operates as
   7
       anything more than a typical, multi-national corporate enterprise. See Fleites Br. 31-
   8
       40; Fleites Reply 13-20.9 MindGeek S.à r.l.’s corporate structure was carefully vetted
   9
       by legal and tax professionals, and Plaintiffs have offered nothing to suggest that the
  10
       structure is not compliant with Luxembourg corporate law. See Fleites Reply 14. The
  11
       tax structure has never been challenged by any government entity, and Plaintiffs’
  12
       expert’s “opinion” is based only on assuming the truth of allegations that MindGeek
  13
       has specifically refuted—and which Plaintiffs have offered nothing to support. Id. at
  14
       14-15. And Plaintiffs have not shown that the provision of intra-corporate services
  15
       or involvement of ultimate beneficial owners in high-level, strategic decision-making
  16
       demonstrates the requisite pervasive control to allow corporate veil-piercing. Id. at
  17
       15-16.
  18
             What’s more, Plaintiffs fail to rebut the fact that there is no fraud or injustice
  19
       from respecting the corporate form here (though they now admit that they must show
  20
       such fraud or injustice to prevail on their alter-ego theory, contra Fleites Opp. 82-83
  21
       (claiming that “for jurisdictional purposes the injustice element is irrelevant”); see
  22
       Fleites Reply 17-18). Plaintiffs have made no effort to show that they cannot be made
  23
       whole through Freesites and 9219, both of which do not dispute personal jurisdiction
  24
       as to the U.S. Plaintiffs’ claims. See Fleites Reply 18. And Plaintiffs’ claim that the
  25
  26
       9
      Unlike in Fleites, the alter-ego question is not dispositive of the instant jurisdictional
  27 analysis, since here all Defendants object to this Court’s personal jurisdiction over
     the claims of the non-U.S. Plaintiffs.
  28
                                                  25
                REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                 (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25        Page 36 of 47 Page
                                     ID #:4447


   1 corporate structure is designed to “dispute which entities are legally liable for the
   2 harm caused” is belied by the plain fact that MindGeek has consistently maintained
   3 for years that Freesites is responsible for operating Pornhub (and Plaintiffs’ counsel
   4 has not found anything to the contrary in over a year of discovery). See, e.g., Decl.
   5 of Andreas Alkiviades Andreou ¶ 9, Fleites ECF No. 70-2 (declaring in October 2021
   6 that “MG Freesites Ltd is responsible for operating certain websites, referred to as
   7 ‘tubesites,’ including ‘PornHub’”). Thus, unlike the cases on which Plaintiffs rely,
   8 there simply has been no “confus[ion]” created by MindGeek. See, e.g., Elizabeth
   9 Arden, Inc. v. Merch. of Tennis, Inc., 2011 WL 13217803, at *3 (C.D. Cal. Oct. 28,
  10 2011) (Plaintiffs’ unrebutted allegations included allegations that the defendants
  11 “purposefully blur the corporate distinctions . . . in order to mislead or confuse
  12 creditors and customers” and “so they can dispute which entity is legally liable to a
  13 particular creditor”).
  14         C.     MindGeek USA’s and MG Global’s Prior Headquarters in
                    California Do Not Allow the Exercise of Personal Jurisdiction Over
  15                the State-Law Claims Here.
  16         If the Court dismisses the federal-law claims, then there is no personal
  17 jurisdiction over MindGeek USA or MG Global as to any Plaintiff’s claims.
  18                1.    There is no general personal jurisdiction.
  19         Though MindGeek USA and MG Global were domiciled in California before
  20 Plaintiffs’ complaints were filed, “[c]ourts have uniformly held that general
  21 jurisdiction is to be determined no earlier than the time of filing of the complaint.”
  22 Baton v. Ledger SAS, 2021 WL 5226315, at *4 (N.D. Cal. Nov. 9, 2021), overruled
  23 on other grounds, 2022 WL 17352192 (9th Cir. Dec. 1, 2022). General personal
  24 jurisdiction arises by virtue of a state’s “power to hale before its courts any individual
  25 who could be found within its borders” and “properly serv[ed]” while there. Burnham
  26 v. Superior Ct., 495 U.S. 604, 611 (1990) (plurality op.); see J. McIntyre Mach., Ltd.
  27 v. Nicastro, 564 U.S. 873, 880 (2011) (plurality op.) (explaining that general
  28
                                                 26
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS      Document 106 Filed 01/08/25        Page 37 of 47 Page
                                    ID #:4448


   1 jurisdiction is created by “[p]resence within a State at the time suit commences
   2 through service of process”). And a corporation’s “continuous and systematic general
   3 business contacts . . . approximate physical presence in the forum state.”
   4 Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 801 (9th Cir. 2004)
   5 (cleaned up). Thus, the question is whether MindGeek USA and MG Global were
   6 ‘physically present’ in California “at the time suit commences.” Nicastro, 564 U.S.
   7 at 880 (plurality op.).
   8         Consistent with that reasoning, California courts have repeatedly rejected the
   9 exercise of general personal jurisdiction based on a defendant’s domicile here prior
  10 to the filing of the complaint. See, e.g., Diamondback DTNM, LLC v. ShiftPixy, Inc.,
  11 2024 WL 5185667, at *7 (C.D. Cal. Sep. 27, 2024) (rejecting exercise of general
  12 personal jurisdiction based on defendant’s prior residence in California
  13 approximately three years before complaint was filed); Quan v. BAM Trading Servs.,
  14 Inc., 2024 WL 2137631, at *2 (N.D. Cal. May 13, 2024) (no general jurisdiction over
  15 defendant that moved its principal place of business from California to Florida six
  16 months before the complaint was filed); Baton, 2021 WL 5226315, at *4 (no general
  17 jurisdiction where defendant moved its offices from California to Canada before the
  18 complaint was filed).
  19         Plaintiffs cite no binding precedent supporting their theory of lookback general
  20 personal jurisdiction based purely on a prior principal place of business in the forum.
  21 Instead, Plaintiffs rely on the proposition that the Supreme Court has looked back to
  22 determine whether an entity has such “continuous and systematic” contacts with the
  23 forum—which, by definition, must occur for more than a single day—“as to render
  24 it essentially at home” there at the time of the suit. See Bristol-Myers Squibb Co. v.
  25 Superior Court, 582 U.S. 255, 271 (2017); see, e.g., Perkins v. Benguet Consol.
  26 Mining Co., 342 U.S. 437, 448 (1952) (corporation’s president was carrying on, prior
  27 to and “at the time he was served with summons,” systematic and continuous
  28
                                                27
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25          Page 38 of 47 Page
                                     ID #:4449


   1 activities in Ohio). “This calculus, however, cannot rely on a defendant’s past
   2 domicile.” Cochran v. Air & Liquid Sys. Corp., 2022 WL 7609937, at *6 (C.D. Cal.
   3 Oct. 13, 2022). And Plaintiffs offer no facts even approaching the “exacting
   4 standard” for establishing general personal jurisdiction in a location other than the
   5 “paradigmatic locations” of the corporation’s place of incorporation and principal
   6 place of business at the time of the suit—an option that the Supreme Court has
   7 cautioned is available only in “exceptional case[s].” BNSF Ry. v. Tyrrell, 581 U.S.
   8 402, 413 (2017) (no general jurisdiction even where defendant had “2,061 miles of
   9 railroad track in Montana,” “employ[ed] some 2,100 workers there,” and generated
  10 10% of its revenue in the state); Ranza v. Nike, Inc., 793 F.3d 1059, 1069 (9th Cir.
  11 2015) (no general jurisdiction where 20 to 27 employees worked in the forum state).
  12                2.     There is no specific personal jurisdiction.
  13         Plaintiffs’ resorts to the prospect of specific personal jurisdiction fare no better.
  14 To meet their burden of demonstrating this Court’s specific personal jurisdiction,
  15 Plaintiffs must show not only that MindGeek USA and MG Global purposefully
  16 availed themselves of the laws of California, but also that those jurisdictional contacts
  17 relate to their claims. See Yamashita, 62 F.4th at 504, 506. “‘[R]elate to’ ‘does not
  18 mean anything goes.’” Id. Each Plaintiff instead must show how Defendants’
  19 activities give rise to her claims or are “close[ly] connect[ed]” to her injury. Id.
  20         Plaintiffs fail to meet that burden. Plaintiffs merely allege that MindGeek USA
  21 and MG Global each had an office in California, and they rely on MindGeek’s
  22 statements that MG Global has two employees who work on the Trust and Safety
  23 teams of the MindGeek tubesites, but who have no responsibility for moderation of
  24 content before it is uploaded to the tubesites. See Opp. 77-78; Andreou Decl. ¶ 46.
  25 As for maintaining a California office, even if it constituted purposeful availment,
  26 Plaintiffs have made no effort to show how that office relates to Plaintiffs’ claims.
  27 Random jurisdictional contacts amounting to purposeful availment but without any
  28
                                                  28
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25         Page 39 of 47 Page
                                     ID #:4450


   1 link to a plaintiff’s claims do not support the exercise of specific personal jurisdiction.
   2 See, e.g., Bristol-Myers Squibb, 582 U.S. at 262 (“Nor is it sufficient—or even
   3 relevant—that [defendant] conducted research in California on matters unrelated to
   4 [the product at issue]. What is needed—and what is missing here—is a connection
   5 between the forum and the specific claims at issue.”); Yamashita, 62 F.4th at 506
   6 (shipment of some batteries into the port of Honolulu constituted purposeful
   7 availment, but it could not support the exercise of specific personal jurisdiction over
   8 a claim related to different batteries not alleged to be imported into Hawaii).
   9         As for the business of MindGeek USA and MG Global, Plaintiffs have not
  10 rebutted the fact that neither operates Pornhub or any other tubesite. MindGeek USA
  11 is involved in DVD-based content and e-commerce stores, which Plaintiffs do not
  12 even attempt to relate to their claims. See Andreou Decl. ¶ 37.10 MG Global provides
  13 support services for the tubesites, but Plaintiffs have failed again to draw any link
  14 between those support services, including post-publication moderation services by
  15 two employees, and their claims. Plaintiffs effectively admit as much, since they
  16 request yet even more discovery to assess the veracity of these specific claims, Opp.
  17 78, notwithstanding the troves of discovery their counsel obtained in Fleites.
  18 Plaintiffs have failed to meet their burden of demonstrating any connection between
  19 MindGeek USA and MG Global’s California-based activities and their claims. This
  20 Court thus lacks personal jurisdiction over those claims if the federal-law claims are
  21 dismissed (as they should be). See Op. Br. 37.
  22         Square 1 Bank, the only case cited by Plaintiffs in support of their argument,
  23 is not on point. Square 1 Bank v. Lo, 128 F. Supp. 3d 1257 (N.D. Cal. 2015). There,
  24 the court found specific personal jurisdiction over a former California resident who
  25
       10
       Plaintiffs allege that MindGeek USA “provided support services to Pornhub,” but
  26 MindGeek specifically denied that allegation, and so Plaintiffs cannot rely on it. See
     Andreou Decl. ¶ 37; AMA Multimedia, LLC v. Wanat, 970 F.3d 1201, 1207 (9th Cir.
  27 2020) (“[D]isputed allegations in the complaint that are not supported with evidence
     or affidavits cannot establish jurisdiction.”).
  28
                                                  29
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25        Page 40 of 47 Page
                                     ID #:4451


   1 moved out of state the day after the complaint was filed but before she was served
   2 with the summons. See id. at 1261-62. The case involved allegations of fraudulent
   3 transfer of property in California to defraud the plaintiff bank on a loan it issued to
   4 the defendant’s company while she was a California resident. See id. at 1259-61. The
   5 court therefore unsurprisingly found that the defendant had sufficient contacts in
   6 California related to the suit, since the property allegedly fraudulently transferred was
   7 located in California and was transferred while the defendant was still a California
   8 resident. See id. at 1262-63.
   9         D.     The Non-U.S. Plaintiffs’ Claims Have No Relation to the
                    Defendants’ Forum-Based Contacts.
  10
             To establish personal jurisdiction in the United States or California over their
  11
       claims, the Non-U.S. Plaintiffs must allege sufficient facts showing that each
  12
       Defendant’s jurisdictional contacts gave rise to their claims, and that each Defendant
  13
       committed an intentional act “expressly aimed at the forum state . . . causing harm
  14
       that [it] knows is likely to be suffered in the forum state.” AMA Multimedia, 970 F.3d
  15
       at 1209. The Non-U.S. Plaintiffs cannot satisfy their burden as to any defendant,
  16
       including those entities that have operated or provided services for Pornhub,
  17
       Freesites, 9219, and MG Premium.11 Instead, they ask this Court to exercise personal
  18
       jurisdiction over claims against Canadian and Cypriot entities, based on actions they
  19
       allege were taken in Canada and Cyprus, that allegedly injured residents not of
  20
       California or the United States, but of Colombia, Thailand, and the United Kingdom,
  21
       based on a globally accessible website. That is not consistent with due process.
  22
             First, the Non-U.S. Plaintiffs do not allege any intentional act by any entity
  23
       involved in operating Pornhub that is expressly aimed at, and knowingly caused harm
  24
       to, the Non-U.S. Plaintiffs in the United States. Ninth Circuit law is clear that merely
  25
  26   11
       As set forth above, MindGeek S.à r.l. has no contacts with the United States and
     thus there is no jurisdiction as to any Plaintiff’s claims, and if the federal-law claims
  27 are dismissed (they should be), then there is no jurisdiction over MindGeek USA or
     MG Global as to any Plaintiff’s claims either. See supra 22-24, 26.
  28
                                                 30
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25        Page 41 of 47 Page
                                     ID #:4452


   1 operating a globally accessible website that also happens to be accessible in the forum
   2 is not enough to meet this burden. See WebGroup Czech, 93 F.4th at 452-53; AMA
   3 Multimedia, 970 F.3d at 1209-10. There must be “something more—conduct directly
   4 targeting the forum.” AMA Multimedia, 970 F.3d at 1210.
   5         The Non-U.S. Plaintiffs have not alleged that “something more.” Instead, they
   6 allege that Pornhub profited from the U.S. market. Opp. 79. But the fact that a website
   7 “with national viewership and scope appeals to, and profits from, an audience in a
   8 particular [forum]” is not enough, as AMA Multimedia, a case to which Plaintiffs fail
   9 to respond (see Op. Br. 39), makes clear. 970 F.3d at 1211 (although 20% of the
  10 defendant’s website’s traffic came from U.S. users, that did “not establish that Wanat
  11 expressly aimed at the U.S. market”). They allege that Pornhub “targeted advertising
  12 directed at United States-based citizens and California residents[,] . . . sold customer
  13 data it collected on those visiting its sites, and also sold its Pornhub Premium service
  14 to United States residents and California[.]” Opp. 79. But they do not allege that these
  15 activities are directed specifically at U.S. users, rather than users generally. And geo-
  16 located advertisements do not constitute express aiming because, otherwise, website
  17 operators “could be said to expressly aim at any forum in which a user views the
  18 website.” AMA Multimedia, 970 F.3d at 1211 (emphasis in original). Plaintiffs must
  19 instead allege facts showing a “differential aiming at the U.S. market.” WebGroup
  20 Czech, 93 F.4th at 456 n.7; see id. at 455 (noting that the plaintiff’s failure to clarify
  21 whether the advertising involved a differential targeting of the U.S. market meant
  22 that the advertisements could not support a finding of express aiming).
  23         Plaintiffs’ cited cases make clear why their allegations fail to aver express
  24 aiming here. In WebGroup Czech, the Ninth Circuit’s finding of express aiming
  25 hinged on the fact that the defendant contracted with U.S-based content-delivery
  26 network services “for the conceded purpose of . . . . improv[ing] the viewing
  27 experience of persons near those CDNs” in the United States. Id. at 453, 455-56.
  28
                                                 31
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS      Document 106 Filed 01/08/25        Page 42 of 47 Page
                                    ID #:4453


   1 Similarly, the court in Will Co. found express aiming because the defendant
   2 purchased server-and content-delivery network services in the United States “to have
   3 the site load faster for viewers in the United States” and hosted content that was
   4 “relevant almost exclusively to viewers in the United States.” 47 F.4th at 925. And
   5 in Ayla, LLC v. Alya Skin Pty. Ltd., 11 F.4th 972, 982 (9th Cir. 2021), the court held
   6 that the defendant had gone beyond merely placing its products into the stream of
   7 commerce because it “contract[ed] with a distribution center in the United States”
   8 that “could help [it] better serve the American market and grow its American
   9 contacts.” In each case, specific differential treatment of the U.S. market meant that
  10 the injury in the United States was foreseeable. See, e.g., WebGroup Czech, 93 F.4th
  11 at 457 (concluding that harm to a U.S. resident in the United States “was clearly
  12 foreseeable, given . . . [defendants’] targeting of the U.S. market”).
  13          Here, Plaintiffs have alleged no similar express aiming, and thus no
  14 foreseeable harm caused in the United States to the Non-U.S. Plaintiffs. Although the
  15 Non-U.S. Plaintiffs claim that MindGeek “hosted [CSAM] on U.S. servers,”
  16 MindGeek did not, as it has made clear. Opp. 80. “
  17                                                                             .” Andreou
  18 Decl. ¶ 12. Plaintiffs’ supposedly contrary evidence refers not to hosting of material,
  19 but to
  20                —which is not the same as hosting content. See Opp. 40; Hille Decl.
  21 Ex. A, § 7.01(w). Plaintiffs do not allege or explain how storing those backup
  22 materials on U.S.-based servers differentially “improve[s] the viewing experience”
  23 of U.S. residents. See WebGroup Czech, 93 F.4th at 453. And in any event, the mere
  24 use of U.S.-based servers (as opposed to content-delivery network services) is, by
  25 itself, insufficient to find express aiming. See, e.g., Hungerstation LLC v. Fast Choice
  26 LLC, 857 F. App’x 349, 351 (9th Cir. 2021) (“[N]o authority supports the proposition
  27 that the act of using a third-party company’s server in the United States to host
  28
                                                32
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25         Page 43 of 47 Page
                                     ID #:4454


   1 illegally-obtained information, without more, is sufficient to convey personal
   2 jurisdiction.”).
   3         Nor have the Non-U.S. Plaintiffs adequately alleged that any U.S.-based
   4 activity gave rise to their claims.12 To start, Plaintiffs’ entire alter-ego theory centers
   5 on the proposition that the MindGeek enterprise is a “byzantine international
   6 structure of shell companies” that serves no legitimate purpose; instead, the entire
   7 enterprise is allegedly run by MindGeek Canada, which comprised “virtually all [of]
   8 MindGeek’s employees and provided all of its senior executive management and core
   9 corporate functions.” Opp. 1; Fleites Opp. 80. Thus, Plaintiffs’ own theory is that the
  10 activities giving rise to their claim occurred in Canada and Cyprus, not the United
  11 States.13 Moreover, the Non-U.S. Plaintiffs hinge their jurisdictional theory on the
  12 fact that MindGeek allegedly “hosted [CSAM] on U.S. servers”—but it did not host
  13 images here. Opp. 80. Plaintiffs have not alleged or explained how the backup copies
  14 of the images at issue give rise to the “transfer, offering, advertisement, distribution,
  15 and monetization” of those images. See Opp. 79.
  16         In sum, the Non-U.S. Plaintiffs have alleged no connection between the United
  17 States and images or videos depicting Colombian, British, and Thai plaintiffs on a
  18 globally accessible and European-hosted website run by a Cypriot company. No
  19 personal jurisdiction therefore has been established.
  20         E.     Plaintiffs Are Not Entitled to More Jurisdictional Discovery.
  21         Finally, Plaintiffs’ request for further jurisdictional discovery should be
  22 denied. Plaintiffs had access to all the discovery in Fleites when opposing
  23 MindGeek’s motion to dismiss. See Opp. 3. They could have relied on that evidence
  24
  25   12
       On this point, WebGroup Czech is also inapt for the separate reason that it found
     jurisdiction over claims brought by a U.S. resident for harm experienced in the United
  26 States—not residents of foreign countries. See id. at 458.
  27   13
         As discussed above, Plaintiffs have not drawn any link between the business
       conducted by the U.S.-based MindGeek entities and their claims. See supra 29.
  28
                                                  33
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25        Page 44 of 47 Page
                                     ID #:4455


   1 to support their disputed jurisdictional allegations. Instead, that jurisdictional
   2 discovery disproved Plaintiffs’ theory. Plaintiffs are not entitled to yet another year
   3 of scorched-earth jurisdictional discovery based on “little more than a hunch” after
   4 the first round turned up dry. See Yamashita, 62 F.4th at 508; Carroll Shelby
   5 Licensing v. Halicki, 2021 WL 4895736, at *5 (C.D. Cal. Apr. 15, 2021)
   6 (jurisdictional discovery not warranted due in part to “earlier litigation enabling
   7 extensive discovery”). Plaintiffs’ counsel had the opportunity to, and indeed did, seek
   8 jurisdictional discovery relevant to entities that did not object to discovery in Fleites.
   9 See, e.g., Fleites v. MindGeek S.A.R.L., 2022 WL 18397365, at *2-3 (C.D. Cal. Nov.
  10 17, 2022) (granting jurisdictional discovery concerning 9219, which did not object
  11 to jurisdiction, because the Court’s order “states that Plaintiff may ‘impute the
  12 contacts of the non-objecting MindGeek Entity Defendants to MindGeek S.A.R.L.
  13 and MG Premium through the alter ego doctrine’”). There is thus no reason to reopen
  14 jurisdictional discovery into MindGeek USA or MG Global. Nor can Plaintiffs revive
  15 jurisdictional discovery based on claims of undisclosed evidence that they never
  16 moved to compel. Fleites Reply 13. Plaintiffs have offered nothing beyond “bare
  17 allegations” to suggest that further jurisdictional discovery would be anything more
  18 than a “fishing expedition.” Yamashita, 62 F.4th at 508; LNS Enters. v. Cont’l
  19 Motors, Inc., 22 F.4th 852, 864-65 (9th Cir. 2022) Their request should therefore be
  20 denied.
  21 V.      MINDGEEK S.À R.L. IS BEYOND THE TERRITORIAL REACH OF
             THE TVPRA
  22
             Despite the length of their arguments about the extraterritorial reach of the
  23
       TVPRA, Opp. 33-39, Plaintiffs fail to meaningfully address MindGeek S.à r.l.’s key
  24
       point of rebuttal: that MindGeek S.à r.l. is not a U.S. national, a lawfully admitted
  25
       alien, or otherwise “present in” the United States. Mot. 36. These are threshold
  26
       requirements for extraterritorial application of the TVPRA under 18 U.S.C.
  27
       1596(a)—which provides that there is extraterritorial jurisdiction over any alleged
  28
                                                 34
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS       Document 106 Filed 01/08/25       Page 45 of 47 Page
                                     ID #:4456


   1 violation only “if” the alleged offender is a U.S. national, lawfully admitted alien, or
   2 otherwise present in the U.S.—and Plaintiffs cannot surpass this threshold.
   3 MindGeek S.à r.l. is a private holding company incorporated under the laws of
   4 Luxembourg. It does not have employees or operations in the United States. Mot. 36;
   5 Fleites Reply 20. As a consequence of these facts, MindGeek S.à r.l. cannot be said
   6 to be present in the United States, despite Plaintiffs, self-serving conclusion that they
   7 have shown MindGeek S.à r.l.’s presence “in spades.” Opp. 36-37.
   8         Plaintiffs’ protracted analysis of the legislative history of RICO (which is
   9 irrelevant) and the TVPRA cannot save them from this failing. As was the case in the
  10 Fleites Opposition, Plaintiffs have failed to point to a single case where the TVPRA
  11 was applied not just to extraterritorial conduct but to an extraterritorial defendant who
  12 was not a U.S. national, lawful alien, or otherwise present in the United States.
  13 Tellingly, both of the cases on which Plaintiffs most heavily rely for their
  14 extraterritorial-application argument, Opp. 35, involve defendants who were United
  15 States government personnel—a fact that the D.C. District Court referred to as of
  16 “key importance” in its finding of extraterritorial application, and which is far from
  17 the case here. United States ex rel. Hawkins v. Mantech Int’l Corp., 2024 WL
  18 4332117, at *12 (D.D.C. Sep. 27, 2024) (“As in the Roe case, where it was of key
  19 importance to the ruling that the illegal acts were perpetrated by U.S. embassy
  20 personnel, the instant lawsuit also involves what is essentially an extension of the
  21 United States government abroad. Indeed, Congress explicitly stated its intention in
  22 section 3271 that the TVPRA would cover government contractors operating beyond
  23 our shores in 18 U.S.C. § 3271(a).”). This Court should not countenance Plaintiffs’
  24 attempt to sweep MindGeek S.à r.l. into the statute’s reach.
  25                                       CONCLUSION
  26         For all of the foregoing reasons, the Court should dismiss with prejudice the
  27 entirety of Plaintiffs’ complaints.
  28
                                                 35
               REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS    Document 106 Filed 01/08/25   Page 46 of 47 Page
                                  ID #:4457


   1
   2
   3 Dated: January 8, 2025              Respectfully submitted,
   4                                     MINTZ LEVIN COHN FERRIS
                                          GLOVSKY AND POPEO, P.C.
   5
                                         /s/ Peter A. Biagetti
   6                                     Seth R. Goldman
                                         Peter A. Biagetti
   7                                     Arameh Z. O’Boyle
                                         Esteban Morales Fabila
   8
                                         Attorneys for Defendants
   9                                     MindGeek, S.à r.l., MG Freesites Ltd, MG
                                         Premium Ltd, MindGeek USA Incorporated,
  10                                     MG Global Entertainment Inc., and 9219-
                                         1568 Quebec Inc.
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                           36
             REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                              (Case No. 2:24-cv-04786-WLH-ADS)
Case 2:24-cv-04786-WLH-ADS     Document 106 Filed 01/08/25     Page 47 of 47 Page
                                   ID #:4458



   1                        CERTIFICATE OF COMPLIANCE

   2        The undersigned, counsel of record for Defendants MindGeek, S.à r.l.
   3 (specially appearing), MG Freesites Ltd, MG Premium Ltd, MindGeek USA
   4 Incorporated, MG Global Entertainment Inc., and 9219-1568 Quebec Inc., certifies
   5 that this brief contains 20 pages, which complies with the 35-page limit set in the
   6 Court’s Order Granting Joint Stipulation to Request Limited Coordination For
   7 Purposes of Responding to Complaints in Related Cases dated October 9, 2024 (ECF
   8 No. 54).
   9 Dated: January 8, 2025                Respectfully submitted,
  10                                       MINTZ LEVIN COHN FERRIS
                                            GLOVSKY AND POPEO, P.C.
  11
                                           /s/ Peter A. Biagetti
  12                                       Seth R. Goldman
                                           Peter A. Biagetti
  13                                       Arameh Z. O’Boyle
                                           Esteban Morales Fabila
  14
                                           Attorneys for Defendants
  15                                       MindGeek, S.à r.l., MG Freesites Ltd, MG
                                           Premium Ltd, MindGeek USA Incorporated,
  16                                       MG Global Entertainment Inc., and 9219-
                                           1568 Quebec Inc.
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                             37
                REPLY IN SUPPORT OF MOTION TO DISMISS OF MINDGEEK DEFENDANTS
                                 (Case No. 2:24-cv-04786-WLH-ADS)
